Case 3:24-cv-00404-MCR-ZCB   Document 21-4   Filed 06/05/25   Page 1 of 124
          Case 3:24-cv-00404-MCR-ZCB          Document 21-4         Filed 06/05/25       Page 2 of 124
Deposition of George Pappas                             Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1                             UNITED STATE DISTRICT COURT
                                NORTHERN DISTRICT OF FLORIDA
   2
                                 CASE NO. 3:24-cv-00404-MCR
   3

   4     NICHOLAS FORD and               )
         ALONZO HAWKINS,                 )
   5                                     )
                      Plaintiffs,        )
   6                                     )
         vs.                             )
   7                                     )
         SOUTHERN ROAD & BRIDGE, LLC,    )
   8                                     )
                      Defendant.         )
   9     ________________________________)
 10

 11

 12

 13                                 REMOTE DEPOSITION OF
                                        GEORGE PAPPAS
 14
                              Taken on Behalf of the Plaintiff
 15
                     DATE TAKEN:          March 4, 2025
 16                  TIME:                9:33 AM - 12:35 PM
                     PLACE:               via Zoom
 17

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                                   215-341-3616 transcripts@everestdepo.com
                                          Everest Court Reporting LLC                                          Page: 1
          Case 3:24-cv-00404-MCR-ZCB     Document 21-4         Filed 06/05/25       Page 3 of 124
Deposition of George Pappas                        Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     APPEARANCES:
   2     On Behalf of the Plaintiffs:
         DEREK SMITH LAW GROUP, PLLC
   3     BY: DANIEL J. BARROUKH, ESQ.
         520 Brickell Key Drive, Suite O-301
   4     Miami, Florida 33131
         danielb@dereksmithlaw.com
   5

   6     On Behalf of the Defendant:
         COLE, SCOTT & KISSANE
   7     BY: ARTHUR L. JONES, ESQ.
         500 North Westshore Boulevard, Suite 700
   8     Tampa, Florida 33609
   9

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                              215-341-3616 transcripts@everestdepo.com
                                     Everest Court Reporting LLC                                          Page: 2
          Case 3:24-cv-00404-MCR-ZCB         Document 21-4         Filed 06/05/25       Page 4 of 124
Deposition of George Pappas                            Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1                                                INDEX
   2                                          EXAMINATION
   3     Witness Name                                                                                 Page
   4     GEORGE PAPPAS
   5           BY MR. BARROUKH ................................ 4
   6           BY MR. JONES ................................... 91
   7           BY MR. BARROUKH ................................ 95
   8

   9                                            EXHIBITS
 10      Exhibit              Description                                                             Page
 11      Exhibit 1            Time sheets                                                             51
 12      Exhibit 2            SRB employee handbook                                                   62
 13      Exhibit 3            Termination form for Ryan Witt                                          69
 14      Exhibit 4            Termination form for Nicholas Ford                                      69
 15      Exhibit 5            Text messages                                                           71
 16      Exhibit 6            Text messages                                                           72
 17      Exhibit 7            Printout of group chat                                                  74
 18      Exhibit 8            Communication between Mr. Ruiz and Mr.                                  76
                              Hawkins
 19
         Exhibit 9            Text messages                                                           77
 20
         Exhibit 10           Text messages, Bates AH25                                               79
 21
         Exhibit 11           Declaration of Dezmond Jones                                            81
 22
         Exhibit 12           Interrogatories                                                         87
 23
         Exhibit 13           Interrogatories                                                         90
 24

                                  215-341-3616 transcripts@everestdepo.com
                                         Everest Court Reporting LLC                                          Page: 3
          Case 3:24-cv-00404-MCR-ZCB            Document 21-4         Filed 06/05/25       Page 5 of 124
Deposition of George Pappas                               Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1                                  P r o c e e d i n g s
   2                 Deposition taken before Michele Anzivino, Court
   3     Reporter and Notary Public in and for the State of
   4     Florida at Large, in the above cause.
   5                                               - - -
   6     Thereupon,
   7                                        GEORGE PAPPAS,
   8     having been duly sworn or affirmed, was examined and
   9     testified as follows:
 10                            THE WITNESS:          Yes.
 11      DIRECT EXAMINATION BY MR. BARROUKH:
 12              Q.           All right.       Good morning.                How would you like
 13      me to address you for today's deposition, George or Mr.
 14      Pappas?
 15              A.           George is fine.
 16              Q.           All right.       George.          And have you ever given
 17      a deposition before?
 18              A.           No.
 19              Q.           All right.       So I'm going to go over a few
 20      ground rules.              Hopefully this makes things go quicker.
 21      My goal here today is not to keep us here longer than
 22      necessary.             My goal is to get answers and hopefully do
 23      it as quickly as we can.
 24                           Now, the first ground rule is because we have
 25      a court reporter here today, she is taking down your

                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                          Page: 4
          Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25       Page 6 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     testimony and my questions.                         So we cannot give
   2     inaudible answers.                  That means in responding to one of
   3     my questions you cannot shake your head or go "mm-hmm"
   4     or "uh-huh".             You have to say yes or no.                           Do you
   5     understand?
   6             A.           Yes.
   7             Q.           And the second most important ground rule is
   8     again, because we have a court reporter here today she
   9     can only take down one of us talking at once.                                           So we
 10      can not talk over each other.                           Meaning I understand my
 11      questions might be long, but allow me to complete my
 12      question even if there's a tidbit at the end, and I
 13      will give you all the time you need to complete your
 14      answers.             All right?
 15              A.           Yes.
 16              Q.           And finally, anything that requires you to
 17      tell me what you spoke to Mr. Jones or any of your
 18      other attorneys about, I do not want to hear that
 19      answer, okay?               So if I ask you if you spoke to your
 20      attorney you can say yes, but do not tell me what you
 21      spoke to your attorney about.                           Does that make sense?
 22              A.           Yes.
 23              Q.           Okay.    And at any point today if you need a
 24      break, I don't know how long exactly this is going to
 25      take, but if we need lunch or if we need to stop for

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                          Page: 5
          Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25       Page 7 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     food, let me know.                  We can take as many breaks as you
   2     need, water, restroom, coffee, whatever it may be.                                               I
   3     just ask that you do not take a break in the middle of
   4     a sitting question.                  Does that make sense?
   5             A.           Yes.
   6             Q.           Is there anything preventing you from
   7     testifying clearly and truthfully today?
   8             A.           No.
   9             Q.           Okay.    And you understand that even though we
 10      are on Zoom and it's just you, me, Mr. Jones and the
 11      court reporter, you understand your testimony has the
 12      full weight and if you were in a court reporter room in
 13      front of a judge?
 14              A.           Yes.
 15              Q.           Where are you testifying from today?
 16              A.           From Southern Road & Bridge's office,
 17      conference room.
 18              Q.           Okay.    During today's deposition I might
 19      refer to Southern Road & Bridge as SRB, but you
 20      understand that to mean the defendant in this lawsuit.
 21      Do you understand?
 22              A.           Yes.
 23              Q.           Okay.    Now, where exactly is Southern Road &
 24      Bridge's office?
 25              A.           In Palm Harbor, Florida.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                          Page: 6
          Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25       Page 8 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           All right.        Do you have the address?
   2             A.           2997 Alternate 19, Palm Harbor, Florida
   3     34683.
   4             Q.           All right.        And if I'm looking down I'm just
   5     taking notes.               I don't mean to be disrespectful.                                Okay?
   6             A.           Yes.
   7             Q.           All right.        Now what is your current address?
   8             A.           My home address?
   9             Q.           Yes, sir.
 10              A.           That would be
                                 .
 12              Q.           All right.        And is this a work office that
 13      you're appearing to this deposition from?
 14              A.           Yes.
 15              Q.           All right.        Is anybody else in the office
 16      with you?
 17              A.           No.    I'm in a conference room by myself.
 18              Q.           Understood.         And to be clear, nobody is in
 19      the room with you, correct?
 20              A.           Correct.
 21              Q.           And do you have any documents or any devices
 22      outside of the computer in which you're appearing for
 23      today's deposition anywhere around you?
 24              A.           I have my cell phone and a notepad.
 25              Q.           That's fine.          For the purposes of the

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                          Page: 7
          Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25       Page 9 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     deposition, any documents that I want you to look at I
   2     will show you, okay?                   So I ask that you -- if it's not
   3     an emergency to stay off your device or to not look at
   4     your phone.             Okay?
   5             A.           Yes.
   6             Q.           All right.        Now, did you prepare for today's
   7     deposition?
   8             A.           Yes.
   9             Q.           Okay.    How did you prepare?
 10              A.           I tried to recall with everything that
 11      happened two years ago.
 12              Q.           Okay.    Did you meet with your attorney to
 13      prepare for today's deposition?
 14              A.           Yes.
 15              Q.           All right.        And when did this meeting take
 16      place?
 17              A.           Friday.
 18              Q.           Okay.    And how long did the meeting last?
 19              A.           Two hours.
 20              Q.           Okay.    And did you review any documents in
 21      preparation for this deposition?
 22              A.           Yes.
 23              Q.           Do you recall what documents you reviewed?
 24              A.           Our employee handbook.
 25              Q.           All right.        What else?

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                          Page: 8
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 10 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           And some text messages.
   2             Q.           All right.        Were there any other documents
   3     that you reviewed?
   4             A.           No.
   5             Q.           Okay.    How did you get the employee handbook
   6     and these text messages?
   7             A.           I had a copy of the employee handbook, and
   8     the attorney also had one.
   9             Q.           Okay.    And as far as the text messages, how
 10      did you get those?
 11              A.           I have the text messages that I exchanged
 12      with the attorney.
 13              Q.           Okay.
 14              A.           They also had copies of my text messages.
 15              Q.           Understood.         And how long did you review the
 16      handbook for?
 17              A.           Roughly about 30 minutes, 45 minutes during
 18      the meeting.
 19              Q.           Okay.    And was that the first time you had
 20      reviewed the employee handbook?
 21              A.           No.
 22              Q.           All right.        Have you signed the employee
 23      handbook for the company?
 24              A.           Which year?
 25              Q.           That's a good point.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                          Page: 9
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 11 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1                          How many employee handbooks does the company
   2     have every year?
   3             A.           I believe we have every year we refresh it.
   4             Q.           All right.        And do you recall which year
   5     employee handbook you reviewed?
   6             A.           I do not recall.
   7             Q.           Okay.    Sitting here today, do you believe
   8     you've signed every revised employee handbook for the
   9     company since you began your employment with them?
 10              A.           Yes.
 11              Q.           Okay.    Now, did you speak to anybody besides
 12      your attorney about today's deposition?
 13              A.           No.
 14              Q.           Okay.    Do you have a family?
 15              A.           Yes.
 16              Q.           Okay.    And you did not discuss today's
 17      deposition with your family; is that correct?
 18              A.           No.
 19              Q.           Did anybody else show you any documents
 20      outside of the employee handbook in relation to this
 21      deposition?
 22              A.           No.
 23              Q.           Now, what is your role with the company?
 24              A.           I'm a project manager.
 25              Q.           Okay.    And how long have you been working for

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 10
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 12 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     Southern Road & Bridge?
   2             A.           Over eight years.              Since 2016.
   3             Q.           All right.        And how long have you been
   4     working in your current position as project manager?
   5             A.           Six years.
   6             Q.           Okay.    And what was your -- what are your
   7     responsibilities and job duties as project manager?
   8             A.           I supervise multiple projects within the
   9     company in reference to payroll, budgets, scheduling
 10      and supervising the field employees.
 11              Q.           All right.        And when you say I "supervise" --
 12      just to confirm you said you supervise projects,
 13      payroll, budgets, scheduling and also supervise the
 14      employees, correct?
 15              A.           Correct.
 16              Q.           Is there anything that your title of project
 17      manager entails?
 18              A.           It would also include any complaints, issues
 19      with employees, with supervision, then I would report
 20      to the owner or hr.
 21              Q.           And who is the owner of the company?
 22              A.           Lucas Pappas.
 23              Q.           And who is the ownership of the company?
 24              A.           Vested HR.
 25              Q.           And what is your relationship to Lucas

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 11
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 13 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     Pappas?
   2             A.           Cousin.
   3             Q.           Do you know when Southern Road & Bridge was
   4     founded as a company or began performing work?
   5             A.           2012 I believe.
   6             Q.           And is it fair to say that you're close with
   7     your cousin Lucas?
   8             A.           Yes.
   9             Q.           Okay.    And does Lucas also live in Holiday,
 10      Florida?
 11              A.           No.
 12              Q.           Where does Lucas live?
 13              A.           Palm Harbor, Florida.
 14              Q.           Now, you said you supervise payroll.                                Could
 15      Can you please tell me about that?
 16              A.           All of the field employees, the foremen and
 17      superintendent, fill out a time sheet with the
 18      employees, the workers.                      They then send it to myself, I
 19      put it in an Excel format and send it over to our
 20      payroll department and HR.
 21              Q.           All right.        So you are responsible for
 22      collecting completed time sheets and further inputting
 23      them into an Excel spreadsheet and sending them to
 24      Vested HR; is that fair?
 25              A.           Correct.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 12
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 14 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           Okay.    And with regards to the payroll is
   2     there any other, you know, you gave a very streamlined
   3     quick explanation of how the payroll system works.
   4                          Is there anything else I should understand
   5     about the payroll system?
   6             A.           Other than it's a paper copy that they fill
   7     out in the field and then they scan it over to myself.
   8     And then I -- like I said, I put it in the Excel and
   9     send it over to payroll and HR.
 10              Q.           Okay.    And with regards to the budget, could
 11      you please tell me how you supervise the budget?
 12              A.           I work with our comptroller, with profit and
 13      loss, and I see all of the receipts and costs.                                           I order
 14      the material, I run the subcontractors, and basically
 15      supervise that.
 16              Q.           Okay.    And next you spoke with scheduling.
 17      Could you please discuss how you supervise the
 18      scheduling?             Is that of the individual employees or is
 19      that of the projects or both?
 20              A.           Project only.           I do not schedule the
 21      employees.
 22              Q.           Do you know who does schedule the employees?
 23              A.           The superintendent.
 24              Q.           And who is that?
 25              A.           That was Ryan Witt.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 13
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 15 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           All right.        You said that was Ryan Witt.
   2     Could you please state whether he is still with the
   3     company?
   4             A.           He is not.
   5             Q.           We'll get back to that.
   6                          Now, you also said you supervise the
   7     employees.             Could you please state how you supervise
   8     the employees?
   9             A.           I supervise basically if there's an issue.
 10      If they need to discuss anything with me that they
 11      can't have resolved with the superintendent, I then
 12      step in and help them in any way I can.
 13              Q.           Okay.    And what does that look like?                              If you
 14      could provide me with some examples.
 15              A.           If an employee has a complaint or an issue
 16      with their accommodations, where they're staying,
 17      payroll, and they have nothing that was resolved with
 18      the superintendent, then I resolve it.
 19              Q.           All right.        So to be clear, do all employee
 20      issues or complaints have to go through the
 21      superintendent first before that issue can be brought
 22      to your attention?
 23              A.           No.   It can be brought both ways.
 24              Q.           Okay.
 25              A.           Our policy usually goes through the

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 14
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 16 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     superintendent first and then myself.                                   But any time
   2     they have my communication, they can call the office,
   3     speak to me or anything.
   4             Q.           Okay.    And do all of the individual employees
   5     have your personal cell phone number or a personal
   6     number to reach you?
   7             A.           They have the office number.
   8             Q.           Okay.    And you always work from the office;
   9     is that correct?
 10              A.           Correct.
 11              Q.           Okay.    Now you also said your
 12      responsibilities include handling complaints, issues
 13      and reports, correct?
 14              A.           Correct.
 15              Q.           Could you please explain what you mean by
 16      that?
 17              A.           If there's a complaint that is brought up to
 18      me, I speak with the employee.                            I also make sure that
 19      if -- we can have them speak with the HR department or
 20      EEO office at any time.
 21              Q.           Okay.    And at what point in time would you
 22      refer the employee to discuss with the HR officer or
 23      the EEO officer?
 24              A.           As soon as I speak with them, and then if
 25      they would like to speak to them.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 15
         Case 3:24-cv-00404-MCR-ZCB              Document 21-4         Filed 06/05/25        Page 17 of 124
Deposition of George Pappas                                 Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           Okay.     And you say if they would like to
   2     speak to them.               If the employee would like to speak to
   3     the HR or EEO officer, do they have to request a
   4     meeting with the HR or EEO officer or do you suggest
   5     they speak or meet with the HR or EEO officer?
   6             A.           They can call any time.                     They have the number
   7     in their employee handbook.                          And then I also can
   8     request them to tell them to call them if they have a
   9     complaint.
 10              Q.           Okay.     And at what point would you actually
 11      suggest or refer an employee to HR?
 12              A.           At any point they need to speak to them or
 13      would like to speak to them.
 14              Q.           Okay.     And how do you determine an employee
 15      would need to speak with an HR officer?
 16              A.           If it's anything out of my control.
 17              Q.           Okay.     And how many times have you directed
 18      an employee to seek HR's help?
 19              A.           Never.
 20              Q.           Okay.     And why not?
 21              A.           I've never had an issue.
 22              Q.           Okay.     Now, when you say you never had an
 23      issue, does that mean you've never had a complaint or
 24      you have never had a complaint that you couldn't solve?
 25              A.           I've never had a complaint.

                                       215-341-3616 transcripts@everestdepo.com
                                              Everest Court Reporting LLC                                        Page: 16
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 18 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           Okay.    And to be clear, you've never --
   2     you're stating, and your testimony here today is that
   3     you never had a complaint from a single employee
   4     regarding any unlawful conduct whatsoever; is that
   5     correct?
   6             A.           Before Nicholas Ford and Alonzo, yes.
   7             Q.           Okay.    Now going back to when you were
   8     talking about the payroll, you said that, and correct
   9     me if I'm wrong, but what you were telling me was the
 10      employees go to work, perform their work, and the
 11      foreman and superintendent track and confirm their
 12      hours before sending you a completed time sheet to
 13      input; is that correct?
 14              A.           Correct.
 15              Q.           So apart from the superintendent and the
 16      foreman's confirmation, is there any other way to
 17      confirm or validate the hours worked by the employees
 18      named on the time sheets?
 19              A.           No.
 20              Q.           Okay.    And similarly, you cannot confirm
 21      whether the hours on the time sheets are in fact true
 22      or not true outside of the forman and the
 23      superintendent's confirmation; is that fair to say?
 24              A.           Correct.
 25              Q.           Okay.    So you stated you were the project

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 17
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 19 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     manager for around six years, so roughly back to 2019.
   2     What position did you hold with SRB prior to project
   3     manager?
   4             A.           Superintendent.
   5             Q.           Okay.    What year did you start working as a
   6     superintendent?               If you can give me a more specific
   7     month or date that would be helpful, as well.
   8             A.           The day I started.               2016.
   9             Q.           Okay.    And as superintendent, what were your
 10      job responsibilities?
 11              A.           To supervise the project and supervise my
 12      workers.
 13              Q.           Okay.    And you had used the word "project"
 14      and projects a few times.                        Could you describe generally
 15      what a project looks like for Southern Road & Bridge?
 16              A.           The project would be a bridge repair project.
 17      We repair bridges.                  So the project would entail all of
 18      the repairs for the state.                        We work for mostly state
 19      and government.               And all of the repairs I meet with the
 20      state officials, the inspectors, and control the
 21      day-to-day operations for all the repairs and the
 22      employees and subcontractors, stuff like that.
 23              Q.           Okay.    And how many employees does Southern
 24      Road & Bridge currently employ?
 25              A.           Around 200 I believe.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 18
         Case 3:24-cv-00404-MCR-ZCB              Document 21-4         Filed 06/05/25        Page 20 of 124
Deposition of George Pappas                                 Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.            Okay.    And back when Alonzo and Nicholas were
   2     working there in around 2023, how many employees did
   3     Southern Road & Bridge employ?
   4             A.            Around the same.
   5             Q.            And again, sorry, I was about to cut you off.
   6     I know we are talking about events that happened a
   7     little bit of time ago, so if you don't remember I'd
   8     rather you say "I don't remember" rather than giving an
   9     answer that you may not be 100 percent sure.                                           It would
 10      help you, it would help your attorney and it would help
 11      myself.              Because the goal of today is to get the most
 12      accurate and clear information.                              Okay?
 13              A.            Okay.
 14              Q.            You stated as a project manager you regularly
 15      worked from the office.                       Did you ever work in the field
 16      as a project manager?
 17              A.            No.
 18              Q.            Okay.    Did you ever go to a project site as a
 19      project manager?
 20              A.            Very rarely.
 21              Q.            Okay.    Could you count the amount of times
 22      you've been to a site as a project manager?
 23              A.            I couldn't tell you.
 24              Q.            I understand it's been six years, but would
 25      you say it's more or less than 20 times on-site as a

                                       215-341-3616 transcripts@everestdepo.com
                                              Everest Court Reporting LLC                                        Page: 19
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 21 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     project manager?
   2             A.           That would be a correct statement.
   3             Q.           Okay.    So around 20 visits to the site as
   4     project manager.                And when you were a superintendent,
   5     how many days a week were you working on-site?
   6             A.           Every day.
   7             Q.           Okay.    And did the superintendent help repair
   8     the bridge or more manage the team that was working at
   9     the site?
 10              A.           Manage the team.
 11              Q.           Okay.    And could you describe the
 12      superintendent's responsibilities for handling
 13      complaints or reports from employees or team members?
 14              A.           Responsibility would be to ask the employee
 15      the issue.             And again, if it's something that cannot be
 16      resolved by the superintendent I would then move it to
 17      the project manager.                   And at any time or course the
 18      employee handbook, I would let them know they could
 19      call the EEO officer or HR if they'd like to.
 20              Q.           Okay.    And as a superintendent, not as a
 21      project manager, did you ever receive complaints of any
 22      unlawful activity of any kind from your team or your
 23      employees?
 24              A.           No.
 25              Q.           Okay.    And you said before -- or I guess

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 20
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 22 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     there's a hierarchy beneath superintendent would be
   2     foreman; is that correct?
   3             A.           Correct.
   4             Q.           And what does the foreman do?
   5             A.           The foreman would run the employees
   6     day-to-day, and what job or task that needs to be done
   7     that day that the supervisor or superintendent would
   8     tell them.
   9             Q.           Okay.    Would the foreman assign the tasks or
 10      distribute the tasks to the employees of the team?
 11              A.           Yes.
 12              Q.           Okay.    And I guess I'll get into this more
 13      with the superintendent separately, but again did the
 14      foreman have the ability to write up or issue a
 15      disciplinary notice to an employee on his or her team?
 16              A.           No.
 17              Q.           Could the foreman have reported bad behavior
 18      or poor work performance?
 19              A.           Yes.
 20              Q.           All right.        And did the foreman have the
 21      ability to issue any discipline whatsoever, whether
 22      it's sending an employee home or striking their hours
 23      in terms of not adding them back on the schedule?
 24              A.           No.
 25              Q.           So a foreman could not send home any of his

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 21
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 23 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     team members?
   2             A.           No.
   3             Q.           Okay.    What about the superintendent?                               Did
   4     the superintendent have the ability to issue discipline
   5     in the form of a write-up or suspension or send an
   6     employee home?
   7             A.           Yes.
   8             Q.           Okay.    What other authority I guess did a
   9     foreman have over his team members?
 10              A.           Basically what you said.                     Hours, discipline,
 11      writeups.             They also would be able to speak to the
 12      lodging, the people at the hotel if they needed to.
 13      And then of course they would speak to me.
 14              Q.           Okay.    And was the foreman responsible for --
 15      you mentioned lodging.                     Was the foreman responsible for
 16      the payment to the lodging company or the hotel or
 17      motel or wherever the team would be staying?
 18              A.           No.
 19              Q.           Who was responsible for that?
 20              A.           The company.          Southern Road & Bridge.
 21              Q.           I understand.           So just so I understand, the
 22      company would pay the lodging entity independently
 23      prior to the team's arrival; is that correct?
 24              A.           Correct.
 25              Q.           Okay.    And the company also has company

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 22
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 24 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     trucks that they give to certain of its team members;
   2     is that correct?
   3             A.           Correct.
   4             Q.           And how many -- so first let me ask this
   5     because I'm not very sure.
   6                          Is every team that goes to a project or to a
   7     work site the same number of employees?
   8             A.           No.
   9             Q.           Okay.    What is the range of individuals in
 10      any team for an assignment or project?
 11              A.           They can be 2 to 50 or 60.
 12              Q.           Okay.    And how far geographically do the
 13      projects span?               Across the State of Florida, across the
 14      southeast United States?                       If you could please let me
 15      know.
 16              A.           The whole United States.
 17              Q.           Okay.    And does the company hire individuals
 18      from across the country, or does the company require
 19      certain individuals to drive to and from these sites or
 20      both?
 21              A.           The company hires from different states, and
 22      once they're hired they are put in lodging for that
 23      project.
 24              Q.           Okay.    Does Southern Road & Bridge fly the
 25      individuals to the project site, if necessary?

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 23
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 25 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           If necessary, yes.
   2             Q.           Does Southern Road & Bridge give those
   3     individuals company cars to transport themselves to the
   4     site instead of flying?
   5             A.           Yes, sometimes.
   6             Q.           And how is that determined, the issuance of a
   7     company vehicle to an employee?
   8             A.           Their position.
   9             Q.           Okay.    Could you explain more?
 10              A.           The superintendent, the foreman, with a valid
 11      driver's license, and only if it's necessary for them
 12      to drive to the state where they're hired.
 13              Q.           Okay.    Would any other employees be driving a
 14      company truck apart from the superintendent or foreman?
 15              A.           Yes.
 16              Q.           Okay.    And you stated that would be if it was
 17      necessary.             What does that mean, if it's necessary?
 18              A.           If we need to move the truck from one state
 19      to the other.
 20              Q.           Okay.    So how regular is it for a
 21      non-superintendent or non-foreman employee to drive a
 22      company truck?
 23              A.           It's done regularly as long as it's necessary
 24      and the truck's necessary for that team.
 25              Q.           Okay.    And who is selected to drive the

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 24
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 26 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     company trucks?
   2             A.           The foreman would select employees with the
   3     superintendent, and the employee that has a valid
   4     driver's license, that does not have issues with their
   5     driver's license, any criminal issues, DUI or anything
   6     like that in the past.
   7             Q.           And is there a note or a record of like which
   8     employee the foreman selects to drive a vehicle?
   9             A.           Yes.    They have to be put on our insurance.
 10              Q.           Okay.    Do you know if my clients, Alonzo and
 11      Nicholas, were ever placed on your insurance for the
 12      purpose of driving?
 13              A.           I do not remember.
 14              Q.           Okay.    Do you know if there were any other
 15      determinations that a foreman makes in selecting
 16      employees to drive the company trucks?
 17                           MR. JONES:        Form.
 18      BY MR. BARROUKH:
 19              Q.           You can answer.
 20              A.           No.
 21              Q.           Okay.    And what are the roles of the foreman
 22      outside of supervising the employees on the job site?
 23              A.           The role of the foreman?
 24              Q.           Yes.
 25              A.           Would be to control the day-to-day tasks that

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 25
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 27 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     the superintendent goes over with them that day, and to
   2     make sure the employees are working.
   3             Q.           Okay.    And the same hierarchy that we
   4     described, which is the employee, the foreman, the
   5     superintendent and the project manager, is that the
   6     same chain of command for reports of discrimination,
   7     harassment or retaliation?
   8             A.           No.
   9             Q.           Okay.    Can you please explain what is the --
 10      the correct chain of command for reporting unlawful
 11      activity?
 12              A.           In the employee handbook and discussed with
 13      the employee they can -- if they have the complaint of
 14      any kind they are -- have the possibility of calling --
 15      or they can call the EEO officer, HR which is in their
 16      employee handbook.
 17              Q.           WOuld an employee be allowed to make a report
 18      of unlawful activity to their foreman?
 19              A.           Yes.
 20              Q.           And were they encouraged to make a report of
 21      unlawful activity to their foreman?
 22              A.           Yes.
 23              Q.           All right.        And the same questions for the
 24      superintendent.               Do the employees have the ability to
 25      make a complaint or report of unlawful activity to the

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 26
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 28 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     superintendents?
   2             A.           Yes.
   3             Q.           And were the employees encouraged to report
   4     unlawful activity to the superintendent?
   5             A.           Yes.
   6             Q.           And again, is the foreman or superintendent
   7     trained in how to handle complaints of unlawful
   8     activity?
   9             A.           Yes.
 10              Q.           And what is the training for them with
 11      respect to handling complaints of unlawful activity?
 12              A.           The training would be to discuss it with the
 13      employee, and also notify them that they can call the
 14      EEO officer and HR department --
 15              Q.           Okay.
 16              A.           -- or the supervisor or the project manager.
 17              Q.           Okay.    Now you understand that they might
 18      have been informed to take those steps, but was there
 19      any training they underwent in terms of learning how to
 20      handle these complaints of unlawful activities?
 21              A.           No.
 22              Q.           Okay.    Have you ever been trained in how to
 23      handle the complaints of unlawful activities?
 24              A.           No.
 25              Q.           Okay.    Do you know if the company has a

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 27
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 29 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     policy for how to handle -- for any non-HR or non-EEO
   2     representative to handle complaints of unlawful
   3     activity?
   4             A.           No, no training.
   5             Q.           Now, are you included in the company's hiring
   6     practices whatsoever?
   7             A.           Yes.
   8             Q.           Okay.    What is your role in hiring for the
   9     company?
 10              A.           I can hire employees.
 11              Q.           Who else can hire employees?
 12              A.           The superintendent.
 13              Q.           How many superintendents are employed by SRB?
 14              A.           I cannot give a definite answer.                             I can give
 15      an approximate.
 16              Q.           Sure.    Are we talking a hundred
 17      superintendents or are we talking ten superintendents
 18      here or what's your best estimate?
 19              A.           Around 20.
 20              Q.           Okay.    So would it be fair to say that
 21      there's roughly nine to one employees to
 22      superintendents or foreman/employees to superintendent?
 23      Is that fair to say?
 24              A.           Yes.
 25              Q.           Okay.    And who has the final -- who gives the

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 28
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 30 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     final approval to hire an employee for SRB?
   2             A.           The HR department --
   3             Q.           Okay?
   4             A.           -- once it gets -- they get E-verified.
   5             Q.           Okay.    However, the final decision to extend
   6     an offer of employment to an individual comes from
   7     either you or a superintendent; is that correct?
   8             A.           Correct.
   9             Q.           And does a superintendent, do they ask you
 10      whether you can hire an individual or not?
 11              A.           Yes.
 12              Q.           Okay.    And do you have the authority to
 13      decline to hire an individual proposed by a
 14      superintendent?
 15              A.           Yes.
 16              Q.           Okay.    Can a superintendent decline to hire
 17      an individual you wish to bring on as an employee?
 18              A.           No.
 19              Q.           What role does the foreman have in being able
 20      to contribute at all to the hiring process?
 21              A.           The foreman can only suggest an employee or
 22      somebody they know, but they cannot hire them.
 23              Q.           Okay.    Can a foreman dissuade you by giving
 24      information about an individual from hiring that
 25      individual?

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 29
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 31 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           No.
   2             Q.           Okay.    How frequently do you speak with your
   3     foreman?
   4             A.           Minimal.
   5             Q.           Okay.    How frequently do you speak with your
   6     superintendents?
   7             A.           One to three times a week.
   8             Q.           Okay.    Is there a project manager and
   9     superintendent meeting that happens every week or is it
 10      random phone calls throughout the day from different
 11      superintendents?
 12              A.           Random phone calls.
 13              Q.           Okay.    But you can definitely state that you
 14      speak to each superintendent at least once a week; is
 15      that fair?
 16              A.           Fair.
 17              Q.           Okay.    Now, do you know what Southern Road &
 18      Bridge's policy is for investigating complaints of
 19      unlawful activity?
 20              A.           No.
 21              Q.           Okay.    Do you know who leads the
 22      investigations, if any are required, into complaints of
 23      unlawful activity?
 24              A.           The EEO officer, and I would -- HR.
 25              Q.           Okay.    And is there a standard timeline for

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 30
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 32 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     completing those investigations?
   2             A.           I couldn't answer that.
   3             Q.           Okay.    And sitting here today after working
   4     for the company for six years, do you have any
   5     knowledge of any complaint of unlawful activity made to
   6     SRB or to the HR working for SRB?
   7                          MR. JONES:        Object to form.
   8     BY MR. BARROUKH:
   9             Q.           You can answer.
 10              A.           Not to my knowledge.
 11              Q.           Okay.    Do you know if there have been any
 12      EEOC charges of discrimination filed against Southern
 13      Road & Bridge?
 14                           MR. JONES:        Object to form.
 15                           MR. BARROUKH:           What's the objection on that?
 16                           MR. JONES:        Calls for speculation.                         I don't
 17              think he would know that in his position.
 18                           MR. BARROUKH:           Okay.        Well, I'm just asking
 19              if he knows.
 20      BY MR. BARROUKH:
 21              Q.           I'm not asking you to speculate, George.                                    If
 22      you know you can say yes, I know or no, I don't know.
 23      Okay?         Is that fair?
 24              A.           Fair.
 25              Q.           Okay.    So sitting here today, do you know if

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 31
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 33 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     any charges of discrimination have been filed against
   2     the company with the EEOC?
   3             A.           No.
   4             Q.           Okay.    Do you know if anything has been filed
   5     with the EEOC with regards to Southern Road & Bridge?
   6                          MR. JONES:        Object to form.
   7     BY MR. BARROUKH:
   8             Q.           You can answer.
   9             A.           I do not know.            I'm not in the position to
 10      know that.
 11              Q.           Okay.    And who would know that outside of an
 12      HR representative or the EEO representative?
 13              A.           The owner.
 14              Q.           Would it just be the owner who has knowledge
 15      and information about that?
 16                           MR. JONES:        Object to form.
 17              A.           I couldn't answer that either.
 18              Q.           Okay.    Why do you think the owner would have
 19      knowledge of that information?
 20                           MR. JONES:        Objection.             Form.
 21                           MR. BARROUKH:           What's the objection?                       I'm
 22              asking him why does he think it?
 23                           MR. JONES:        You're asking him why does he --
 24              something that the owner thinks or would know?
 25                           MR. BARROUKH:           I'm asking him why does George

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 32
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 34 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             believe that Lucas would have information.                                       I'm
   2             asking George to answer based on what he leaves.
   3                          MR. JONES:        Yeah, about something that he
   4             would know, the owner would know.                               You're still
   5             asking him about the owner's knowledge about
   6             something.
   7                          MR. BARROUKH:           No, but does -- let's go off
   8             the record for one moment, please.
   9                          (Informal discussion held off the record.)
 10      BY MR. BARROUKH:
 11              Q.           All right.        George, do you have any knowledge
 12      of who is responsible for handling complaints made
 13      against the company?
 14              A.           Yes.
 15              Q.           Okay.    Based on that knowledge, please tell
 16      me who is responsible for who handles the complaints
 17      made against the company.
 18              A.           The EEO officer and HR.
 19              Q.           Okay.    And to your knowledge, is there
 20      anybody else that handles complaints made against the
 21      company?
 22              A.           No.
 23              Q.           Okay.    And to be clear, to your knowledge
 24      there have been no reports or complaints of
 25      discrimination against Southern Road & Bridge by any

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 33
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 35 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     employee; is that correct?
   2             A.           I cannot -- no.
   3             Q.           Okay.    And similarly, to your knowledge there
   4     have been no complaints against Southern Road & Bridge
   5     by any employee for harassment?                             Again, this is apart
   6     from my clients?
   7                          MR. JONES:        Object to form.
   8             A.           To my knowledge, no.
   9             Q.           And to your knowledge, there have been no
 10      complaints made against the company for retaliation; is
 11      that correct?
 12                           MR. JONES:        Object to form.
 13              A.           Correct.
 14              Q.           Okay.    I believe he may be objecting because
 15      I'm using the word "retaliation".
 16                           Do you understand what I mean by
 17      "retaliation".
 18              A.           Yes.
 19              Q.           What do you understand "retaliation" to mean?
 20              A.           Retaliation would be anything that was done
 21      under a issue with an employee to retaliate against
 22      them in any way.
 23              Q.           Okay.    And what do you believe discrimination
 24      is?
 25              A.           Discrimination would be any aspect of an

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 34
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 36 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     unfair act toward a person.
   2                          MR. BARROUKH:           I'm having a little bit of
   3             technical difficulties.                     Off the record for one
   4             minute, please.
   5                          (Brief recess taken.)
   6     BY MR. BARROUKH:
   7             Q.           Mr. Pappas, we did just have a quick break.
   8     Did you speak to your attorney during the break?
   9             A.           No.
 10              Q.           Okay.    Now to your knowledge, has an employee
 11      been punished for discrimination by SRB?
 12              A.           No.
 13              Q.           To your knowledge, has an employee been
 14      punished for harassment by SRB?
 15              A.           No.
 16              Q.           To your knowledge, has an employee been
 17      punished for retaliation by SRB?
 18              A.           No.
 19              Q.           And again, you have no knowledge of any
 20      investigations that may have been conducted into a
 21      complaint or report by Southern Road and Bridge; is
 22      that correct?
 23              A.           Correct.
 24              Q.           Now, have you ever filed or had any
 25      complaints with the company?

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 35
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 37 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           No.
   2             Q.           Do you play a role in terminating employees
   3     for the company?
   4             A.           Yes.
   5             Q.           And what is your role in that?
   6             A.           We have a company policy in our handbook, and
   7     if in any individual breaks those policies I can
   8     terminate them.
   9             Q.           Okay.    And even if an individual does not
 10      violate a company policy, can you still terminate them?
 11              A.           Yes.    Only of lack of work or anything like
 12      that, or the job gets shut down and I would have to lay
 13      somebody off.
 14              Q.           But even if these employees are at will, do
 15      you believe you can terminate them whenever you want
 16      for whatever reason you'd like?
 17              A.           No.
 18              Q.           Okay.    And why not?
 19              A.           They would have to do something wrong.
 20              Q.           Okay.    I'm not asking you if you have
 21      actually ever terminated somebody for any reason
 22      whatsoever, even if they didn't violate a policy.                                              I'm
 23      just asking if you believe you have the authority to do
 24      so.       Does that make sense?
 25              A.           Yes.    I don't believe I have the authority.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 36
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 38 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           Okay.    Now, what is the procedure if you do
   2     wish to terminate an employee?                            Could you please walk
   3     me through that?
   4             A.           Yes.    We would have a discussion with the
   5     employee.             If it's a small offense we have a -- we just
   6     have a discussion and tell them not to do it again.                                                If
   7     it's a more severe policy that's been broken we do a
   8     write-up, a written warning.                          And if it's a direct
   9     policy termination we can terminate them.
 10              Q.           Okay.    And have you ever issued a written
 11      warning or verbal warning to an employee before?
 12              A.           Yes.
 13              Q.           Okay.    How many times have you done that?
 14              A.           Ten times approximately.
 15              Q.           Okay.    And what were the reasons for doing
 16      so?
 17              A.           Tardiness, telephone use, no call-no show.
 18      Insubordination.                Those are basically it.
 19              Q.           Okay.    And how many of those individuals did
 20      you end up terminating?
 21              A.           I'd say half.
 22              Q.           Okay.    And do you recall the names of the
 23      individuals you terminated?
 24              A.           I do not.
 25              Q.           So for your tenure as a project manager --

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                         Page: 37
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 39 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     well, strike that.
   2                          Does any other individual have the authority
   3     to terminate employees at Southern Road & Bridge apart
   4     from yourself?
   5             A.           Superintendents.
   6             Q.           Now, do you know how many employees your
   7     superintendents have terminated or do they go to you
   8     prior to terminating those individuals?
   9             A.           I can't answer that for the whole company.
 10              Q.           Okay.    Is there a formal procedure in
 11      terminating an employee for SBR?
 12              A.           Yes.    Just like I discussed, there's a
 13      discussion, there can be a written warning, or if it's
 14      a severe offense they can be terminated because of the
 15      break in policy.
 16              Q.           Now I know that was your prior answer, but
 17      I'm wondering if there's any paperwork that needs to be
 18      filled out or anything like that.
 19              A.           Yes, there's a termination form.
 20              Q.           Okay.    Who completes the termination form?
 21              A.           The superintendent or the project manager.
 22              Q.           Okay.    And does the employee have to sign the
 23      termination form?
 24              A.           No.
 25              Q.           Okay.    So once the form is completed, correct

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 38
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 40 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     me if I'm wrong but this is what I'm understanding, is
   2     that once the form is completed it is sent to the
   3     employee and the employee is effectively terminated on
   4     that date; is that correct?
   5             A.           It is sent to HR.
   6             Q.           Okay.    But the individual is notified that
   7     they're terminated informally; is that fair to say?
   8             A.           Not necessarily.
   9             Q.           Okay.    So how would SRB or how would you
 10      notify an employee that their employment has been
 11      terminated?
 12              A.           If the availability is possible we can call
 13      them.         We can text them, but if they no call-no show
 14      for multiple days and they don't receive our phone
 15      calls, then we cannot notify them.                                If they leave the
 16      job, job abandonment, we cannot notify them.
 17              Q.           Okay.    And are the company policies with
 18      regards to termination to your knowledge consistent for
 19      all employees?
 20              A.           Can you rephrase that question?
 21              Q.           Sure.
 22                           Is the way the company notifies individuals
 23      of their termination or terminates these individuals
 24      consistent and consistently applied to all employees?
 25              A.           Yes.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 39
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 41 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           Okay.    And apart from claims of
   2     discrimination, retaliation or harassment, have there
   3     been any complaints against the company for wrongful
   4     termination?
   5             A.           I couldn't answer that.
   6             Q.           Do you know how many employees you've
   7     terminated for absenteeism or no call-no show?
   8             A.           Two to four.
   9             Q.           Okay.    Do you have their names?
 10              A.           I do not.
 11              Q.           Do you know when the terminations occurred
 12      for no call-no show or absenteeism?
 13              A.           It's been ten years or eight years that I've
 14      been here.             I've done it two to four times.                              I can't
 15      remember what years they were.
 16              Q.           Did that occur in the last year for any of
 17      those terminations?
 18              A.           Yes.
 19              Q.           Okay.    And do you recall what location or
 20      what site the individual who was terminated for no
 21      call-no show worked?
 22              A.           Yes.
 23              Q.           What site was that?
 24              A.           The site that Alonzo and Nick Ford were on,
 25      they both were terminated for that.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 40
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 42 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1                          I have another individual, I can't remember
   2     his name, it was a different site in Florida, but I
   3     can't remember their exact date and name.
   4             Q.           Okay.    Do you know what site?
   5             A.           Do you mean which actual site it was on?
   6             Q.           Yes.
   7             A.           Pinellas County, here in Florida.
   8             Q.           Do you know if it was in the summer, winter,
   9     what season it was?
 10              A.           Is that relevant?
 11              Q.           You can just answer the question.
 12              A.           I can't answer that question.                          I can't
 13      remember the time of year it was.
 14              Q.           Okay.    Do you know who the superintendent was
 15      for that team?
 16              A.           Yes.
 17              Q.           And what was his name?
 18              A.           Jeff Muckle.          And I cannot recall the other
 19      superintendents at the time.
 20              Q.           Okay.    One more time.                Can you spell the area
 21      of Florida that that was in?
 22              A.           Pinellas, P-i-n-e-l-l-a-s County.
 23              Q.           Okay.    And do you recall if this individual
 24      that was terminated for no call-no show was white,
 25      black or other, what his ethnicity was?

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 41
         Case 3:24-cv-00404-MCR-ZCB              Document 21-4         Filed 06/05/25        Page 43 of 124
Deposition of George Pappas                                 Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           White.
   2             Q.           Were any alternatives considered to
   3     terminating Mr. Ford and Hawkins's employment?
   4             A.           Can you rephrase the question?
   5             Q.           Sure.     Did you ever consider, instead of
   6     terminating Mr. Ford and terminating Mr. Hawkins, to
   7     take another approach rather than terminate their
   8     employment, to solve any issues or discrepancies there
   9     may have been with those two individuals?
 10              A.           Yes.    I spoke to both of them and asked --
 11      requested that I come meet with them to discuss their
 12      issues, to resolve them, and they both denied.
 13              Q.           And did they tell you why they denied to meet
 14      with you?
 15              A.           Yes.
 16              Q.           And what did they say?
 17              A.           They were going to retain a lawyer and sue
 18      us.
 19              Q.           But why did they reject the meeting with you,
 20      did they tell you?
 21                           MR. JONES:         Object to form.
 22              A.           That was the answer.
 23              Q.           Do you recall when you requested to meet with
 24      them to discuss this?
 25              A.           In November.

                                       215-341-3616 transcripts@everestdepo.com
                                              Everest Court Reporting LLC                                        Page: 42
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 44 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           All right.        Do you recall what time of day it
   2     was that you requested to meet with them?
   3             A.           I can look on my phone.                    It was during the --
   4     can't give you the hour.                       It was I believe sometime in
   5     midday or nighttime.
   6             Q.           Okay.    Do you think I would be incorrect in
   7     saying that you requested to meet with them past 8:00
   8     p.m. at night?
   9             A.           I can't remember.
 10              Q.           Okay.    Now, were Mr. Ford or Hawkins ever
 11      given the option to appeal their termination?
 12              A.           No.
 13              Q.           And were they ever given the option or --
 14      strike that.
 15                           Did SRB ever give Mr. Ford or Hawkins an exit
 16      interview after being terminated or, you know, any
 17      feedback as to why they were being terminated?
 18              A.           The feedback was the no call-no show for
 19      work.
 20              Q.           Okay.    Now, with regards to the policies and
 21      procedures SRB has for employees and their protection
 22      and rights in the workplace, do you know how employees
 23      are trained on the company's process for filing
 24      discrimination complaints?
 25              A.           No, I cannot answer that.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 43
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 45 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           Do you know who is responsible for training
   2     employees with regards to how to file a complaint of
   3     discrimination?
   4             A.           I cannot answer that either.
   5             Q.           Do you know if anybody, any individual for
   6     SRB is responsible for training the employees in how
   7     complain of discrimination, harassment or retaliation?
   8             A.           I cannot answer that either.
   9             Q.           Do you know how often the company's policies
 10      for retaliation, harassment or discrimination are
 11      updated?
 12              A.           No.
 13              Q.           Okay.    Do you have any knowledge of how
 14      frequently the company's policies are updated?
 15              A.           Every year.
 16              Q.           Okay.    Do you have any control over the
 17      updates to company policy?
 18              A.           No.
 19              Q.           Okay.    Do you have any control over the
 20      complaint procedure or process for employees when they
 21      want to report or complain of unlawful activities?
 22              A.           I can only discuss with them how to -- that
 23      they can call the EEO and HR, that I cannot tell them
 24      they can't or anything like that.                               I have no authority.
 25      They can do whatever they'd like.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 44
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 46 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           And are the employees allowed to bypass their
   2     supervisor in reporting discrimination if the
   3     supervisor was involved in discriminating against them?
   4             A.           Yes.
   5             Q.           And does the same apply for harassment and
   6     retaliation?
   7             A.           Yes.
   8             Q.           Did Mr. Ford or Mr. Hawkins ever complain to
   9     you about unlawful activity?
 10              A.           No.
 11              Q.           Did Mr. Ford or Mr. Hawkins complain to you
 12      about unlawful discrimination on the basis of their
 13      race?
 14              A.           Yes.
 15              Q.           And what did they say?
 16              A.           They said that they were getting
 17      discriminated against with their hours that were on
 18      their time sheets.
 19              Q.           Okay.    And what was your response to this?
 20              A.           I responded in -- that I would look at the
 21      time sheets, and if they had any issues that I couldn't
 22      answer them, they could call the EEO officer and HR to
 23      discuss their payroll and time sheets.
 24              Q.           And did this conversation occur over the
 25      phone or in text message?

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 45
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 47 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           Phone call with both of them, and I can't
   2     remember if I had any by text messages.
   3             Q.           And what is your role in the onboarding and
   4     hiring of employees?
   5             A.           The onboarding?             Can you rephrase?
   6             Q.           Yes.    Do you know what onboarding is for a
   7     company?
   8             A.           I do not.
   9             Q.           Okay.    So typically onboarding refers to the
 10      process of when a company hires a new employee, they
 11      train them in understanding how things are done or in
 12      the company policies in regards to how to report or
 13      complain of unlawful activity or safety requirements
 14      that the company may have.
 15                           Do you know if Southern Road & Bridge has an
 16      onboarding process or procedure?
 17              A.           Yes.
 18              Q.           Okay.    And what is your knowledge of the
 19      company's onboarding process?
 20              A.           When they are hired they are given the
 21      employee handbook, which states many of the onboarding
 22      policies where it also says they can discuss with the
 23      EEO officer, HR at any time, and stuff like that.
 24              Q.           Okay.    And do you know if -- to your
 25      knowledge, does SRB allow employees to begin work prior

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 46
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 48 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     to signing that employee handbook?
   2             A.           I can't answer that.
   3             Q.           Why not?       Do you not know or do you have no
   4     knowledge?
   5             A.           I have no knowledge.                 There's over 200
   6     employees.
   7             Q.           Okay.
   8             A.           And I don't preside over all those employees.
   9             Q.           Now more specifically, what did Mr. Ford and
 10      Hawkins tell you about their hour dispute?
 11              A.           They told me they were not being paid all of
 12      their hours.
 13              Q.           Okay.    And --
 14              A.           And that --
 15              Q.           Continue.
 16              A.           And that there was fraudulent issues with
 17      their time sheets.
 18              Q.           Did they say why they believed those things
 19      were happening?
 20              A.           They did not.
 21              Q.           Did you ask them?
 22              A.           Yes.
 23              Q.           And what did they say?
 24              A.           They said because of the color of their skin.
 25              Q.           And at that point did you contact an HR

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 47
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 49 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     representative or EEO officer?
   2             A.           I spoke to the HR.
   3             Q.           And what did the HR tell you?
   4             A.           They asked me to discuss the issues with them
   5     and go over the time sheets with them and discuss
   6     everything with them, and that's when I suggested that
   7     we meet so that we could get them paid correctly.
   8             Q.           Okay.
   9             A.           And that's when they told me they were going
 10      to contact their lawyer.
 11              Q.           Okay.    Now, which individual do you recall
 12      speaking with from HR?
 13              A.           Keam.
 14              Q.           Okay.    And what is the last name?
 15              A.           I don't have that with me.                         I can look at an
 16      email.
 17              Q.           Is that Keam Christofilis?
 18              A.           Correct.
 19                           MR. BARROUKH:           And for the court reporter
 20              that's K-e-a-m C-h-r-i-s-t-o-f-i-l-i-s.
 21      BY MR. BARROUKH:
 22              Q.           And do you know if Keam conducted an
 23      investigation into Nick and Alonzo's reports of race
 24      discrimination?
 25                           MR. JONES:        Objection to form.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 48
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 50 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           I couldn't answer that.
   2             Q.           And when you say you couldn't answer that,
   3     again, do you mean you do not know?
   4             A.           I do not know.
   5             Q.           Okay.    I would prefer if you could say "I do
   6     not know" instead of I cannot answer, because if you
   7     cannot answer it makes me think you may be withholding
   8     information instead of not knowing something.                                           Okay?
   9             A.           Okay.    Understood.
 10              Q.           Okay.    Did HR contact you further after that
 11      initial discussion regarding Alonzo and Nick's
 12      complaint of race discrimination?
 13              A.           No.
 14              Q.           Okay.    Do you know if HR -- strike that.
 15                           Did you inform Keam that their complaints
 16      were handled or that the employees had been terminated
 17      following their complaint of race discrimination?
 18              A.           I discussed with her the aspect that I
 19      discussed with you about wanting to meet with them to
 20      go over their hours and get them paid.                                    And then they
 21      said that they would call their attorney.                                       And then
 22      they no call-no showed for multiple days, and I told
 23      her that I terminated them.
 24              Q.           Okay.    And why were you willing to correct
 25      their hours?               Do you believe that their hours were

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 49
         Case 3:24-cv-00404-MCR-ZCB            Document 21-4         Filed 06/05/25        Page 51 of 124
Deposition of George Pappas                               Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     incorrectly tracked or reported by the foreman and the
   2     superintendent?
   3                          MR. JONES:       Object to form.
   4             A.           I don't believe that.
   5             Q.           So why were you willing to correct their
   6     hours if there was nothing wrong with them?
   7                          MR. JONES:       Object to form.                   You can answer.
   8             A.           I wasn't there to correct them.                           I was there
   9     to discuss and they show me where they had the
 10      discrepancy and the discrimination towards them.
 11              Q.           And I apologize.            I believe you stated a
 12      couple moments ago that you wanted to correct their
 13      hours.          Am I you incorrect?                Did I hear that wrong?
 14              A.           No.   In correction, if they had any kind
 15      of -- I don't know how to say it -- any knowledge or
 16      any documentation that they were being discriminated
 17      against and their hours were different from any other
 18      employees, which I showed them their hours which was
 19      the same as the whole crew and team.                                   They did not have
 20      any different hours than anybody else on the team.                                              But
 21      yet they were saying they were discriminated against
 22      and they did not get the correct hours.
 23              Q.           Understood.
 24                           Now, have you taken a look at any of Mr.
 25      Hawkins or Ford's time sheets since they ceased

                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                        Page: 50
         Case 3:24-cv-00404-MCR-ZCB              Document 21-4         Filed 06/05/25        Page 52 of 124
Deposition of George Pappas                                 Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     employment with the company?
   2             A.            Yes.
   3             Q.            And did you notice anything interesting about
   4     the time sheets?
   5             A.            Yes.
   6             Q.            And what did you notice?
   7             A.            Some of the signatures were not theirs.
   8             Q.            And I'm going to go ahead and show you what
   9     I'm mark as Plaintiff's Exhibit 1 just so I can
 10      actually provide you with the document to look at and
 11      discuss while I question you on it.                                  Okay?
 12                            (Exhibit No. 1 marked for identification.)
 13      BY MR. BARROUKH:
 14              Q.            Now, let me know when you can see the
 15      document.
 16              A.            I can see it.
 17              Q.            Okay.    Now again on the bottom right, there's
 18      going to be a red marker stating Plaintiff's Bates No.,
 19      and then a bunch of letters and numbers.                                       That just
 20      means that we produced these documents to Mr. Jones's
 21      office.              Do you understand?
 22              A.            Yes.
 23              Q.            It's three pages.              I'm only showing you three
 24      time sheets that I'd like to focus on?
 25              A.            Sure.

                                       215-341-3616 transcripts@everestdepo.com
                                              Everest Court Reporting LLC                                        Page: 51
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 53 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           Now, the first time sheet is dated for June
   2     7th of 2023; the second is dated for June 10th of 2023;
   3     and the third is dated for June 11th of 2023.
   4                          Do you see that?
   5             A.           Yes.
   6             Q.           Okay.    Now for each time sheet, and I can
   7     scroll it, it states the employee's names on the
   8     left-hand side, and on the right hand site it has the
   9     employee's signature.
 10                           Do you see that?
 11              A.           Yes.
 12              Q.           Who has to sign in the boxes underneath
 13      "employee signature"?
 14              A.           Employee.
 15              Q.           Okay.    And beneath that there's additional
 16      notes.          Do you know who writes these additional notes
 17      or cost codes down on this sheet?
 18              A.           The foreman or superintendent.
 19              Q.           Okay.    Now, does only the foreman or
 20      superintendent have access to these time sheets?
 21              A.           No.
 22              Q.           Who else has access to these time sheets?
 23              A.           Myself.
 24              Q.           Okay.    Now you stated you noticed something
 25      interesting about the time sheets, and that some of the

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 52
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 54 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     signatures did not belong to the employees despite the
   2     employees needing to sign their signature on this
   3     sheet; is that correct?
   4             A.           Correct.
   5             Q.           Now, are you noticing this issue where the
   6     employees did not sign their names on the time sheets
   7     next to their names in this document I'm currently
   8     showing you?
   9             A.           Yes.
 10              Q.           Okay.    And where do you see that occurring?
 11              A.           Looks like all of them.
 12              Q.           Okay.    And to be clear, I can't agree with
 13      you on all of them, but specifically for Alonzo Hawkins
 14      do you see that the name is spelled incorrectly, it's
 15      A-l-a-n-z-o?
 16                           Do you see that?
 17              A.           Sure.
 18              Q.           Okay.    And similar to this sheet A-l-a
 19      instead of A-l-o, and similar to the first sheet.
 20                           Now, these are only three time sheets and
 21      records which my clients state they have never seen
 22      before or signed before.                       Do you understand?
 23              A.           Yes.
 24              Q.           Do you understand that either -- strike that.
 25                           Do you understand that an individual, not my

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 53
         Case 3:24-cv-00404-MCR-ZCB              Document 21-4         Filed 06/05/25        Page 55 of 124
Deposition of George Pappas                                 Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     clients, signed their signature next to their names on
   2     at least these three time sheets?                                Do you understand?
   3             A.            Yes.
   4             Q.            And what is the importance of the time
   5     sheets?              I believe you were discussing this previously
   6     but if you could restate that, please.
   7             A.            The importance is to make sure their names
   8     are correct so that I can input them into the payroll
   9     system and they get paid properly.
 10              Q.            Okay.    Now, sitting here today after I'm sure
 11      this issue was brought to your attention in one way or
 12      another, how many time sheets have been affected by --
 13      strike that.
 14                            How many time sheets have the same problem
 15      where somebody other than my clients signed under their
 16      employee signature box?
 17              A.            Quite a few.
 18              Q.            And how many would that be?
 19              A.            I don't know the number.
 20              Q.            Would you say that almost every single time
 21      sheet was signed by somebody other than my clients?
 22              A.            No.    Some of them were signed by them.
 23              Q.            And how many were those?
 24              A.            I don't know.
 25              Q.            Do you believe that my clients signed more

                                       215-341-3616 transcripts@everestdepo.com
                                              Everest Court Reporting LLC                                        Page: 54
         Case 3:24-cv-00404-MCR-ZCB            Document 21-4         Filed 06/05/25        Page 56 of 124
Deposition of George Pappas                               Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     than five time sheets during their employment with the
   2     company?
   3             A.           I don't know.
   4             Q.           And do you have these time sheets available
   5     on your system or in your records for Southern Road &
   6     Bridge?
   7             A.           Yes.
   8             Q.           So you have all of the time sheets available
   9     for my clients's employment for the duration of my
 10      clients's employment with the company available to you
 11      sitting here today; is that correct?
 12              A.           Correct.
 13              Q.           Why have these documents not been produced to
 14      my office?
 15                           MR. JONES:       Are you asking me?
 16                           MR. BARROUKH:          On the record for Mr. George
 17              Pappas.
 18      BY MR. BARROUKH:
 19              Q.           Did you supply your HR with the time sheets
 20      for my clients?
 21              A.           Yes.
 22              Q.           And do you know why they were never sent to
 23      my office?
 24                           MR. JONES:       Object to form.
 25              A.           I do not.

                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                        Page: 55
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 57 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           Okay.
   2                          MR. BARROUKH:           Off the record, please.
   3                          (Informal discussion held off the record.)
   4     BY MR. BARROUKH:
   5             Q.           George, do you know who signed my clients's
   6     signatures on these time sheets?
   7             A.           I believe it was Enrique Ruiz there, Esequiel
   8     Ruiz, or Ryan Witt.
   9             Q.           Okay.
 10              A.           I could not answer who exactly did that.                                    The
 11      foreman or superintendent.
 12              Q.           Do you understand that signing another
 13      individual's name is forgery and is a criminal offense?
 14              A.           Yes.
 15              Q.           When did you discover my clients's signatures
 16      were being forged on the time sheets?
 17              A.           After they told me.                And that's when I did a
 18      written warning to both the foreman and the
 19      superintendent that this is not tolerable and next time
 20      they would be fired, terminated.
 21              Q.           And to be clear, this is the sole document
 22      that reflects how many hours my clients worked; is that
 23      correct?
 24              A.           Correct.
 25              Q.           And the sole individuals who were responsible

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 56
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 58 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     for verifying, confirming and validating those hours
   2     was the foreman and the superintendent; is that
   3     correct?
   4             A.           Correct.
   5             Q.           When in fact, those are the only two
   6     individuals responsible for completing this form and
   7     who knowingly forged my clients's signature, either one
   8     of the foreman or the superintendent, correct?
   9             A.           Correct.
 10              Q.           Do you know if any of the other employees on
 11      this time sheet in front of you complained about
 12      incorrect hours?                And I can list their names if you
 13      would like.
 14              A.           None of them.
 15              Q.           Okay.    However, do you know if the other
 16      individuals's names were also forged on this time
 17      sheet?
 18              A.           Yes.
 19              Q.           Which ones?
 20              A.           It's hard to see, but I believe it looks like
 21      all of them.
 22              Q.           Okay.    Now, that means Mr. Ruiz and Mr. Ford
 23      could also put whatever hours they wanted for
 24      themselves, meaning theoretically they could list that
 25      they worked from 7:00 p.m. to 4:00 a.m. but really they

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 57
         Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 59 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     could have only worked for 30 minutes; isn't that
   2     correct?
   3                          MR. JONES:      Object to FORM.
   4     BY MR. BARROUKH:
   5             Q.           You can answer.
   6             A.           It's possible.          But like I said the
   7     supervisor, Ryan Witt, should have documented it and
   8     checked them with the foreman.                          But yes, that is the
   9     only way they get their hours.
 10              Q.           So it's also correct that each these
 11      individuals apart from the foreman and superintendent,
 12      so Nicholas Ford, Fidencio Reyes, Alonzo Hawkins,
 13      Dezmond Jones and Cadden Coates, who were having their
 14      signatures forged may not have been compensated for the
 15      proper amount of hours performed; is that correct?
 16                           MR. JONES:      Objection.             Form.
 17              A.           Correct.
 18              Q.           Have you ever reached out to Mr. Jones, Mr.
 19      Coates or Mr. Reyes to inform them that their hours
 20      were incorrect or -- strike that -- to inform them that
 21      their signatures were forged onto their time sheets?
 22              A.           I do not remember.
 23              Q.           Have you personally reached out to any of
 24      those individuals to inform them that their signatures
 25      were forged onto their time sheets?

                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                        Page: 58
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 60 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           No.
   2             Q.           Have you personally reached out to any of
   3     these individuals to ask them whether the hours on
   4     these forged time sheets were correct?
   5             A.           No.
   6             Q.           Do you know sitting here today if the hours
   7     listed on this time sheet for June 7 of 2023 is correct
   8     at all?
   9             A.           No.    Because like I said, this is done by the
 10      foreman and superintendent and then sent to me.                                            So I
 11      did not have a chance to verify that in any way.                                             And
 12      that's when I spoke to Alonzo and Nick to go over that
 13      with them, to meet with them.
 14              Q.           Do you know if Ryan Witt or Esequiel Ruiz
 15      spoke to Alonzo and Nick about their hours?
 16              A.           Yes.    Ryan Witt did.
 17              Q.           And do you know if Esequiel went by the
 18      nickname Pollo?
 19              A.           No.
 20              Q.           Do you know if anybody working with my
 21      clients at Southern Road & Bridge went by the nickname
 22      of Pollo?
 23              A.           Yes.
 24              Q.           And who was that?
 25              A.           Fidencio Reyes.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 59
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 61 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           Okay.    Now, who is Esequiel Ruiz?                            Is he the
   2     foreman?
   3             A.           Yes.
   4             Q.           Okay.    Now, you said you know Mr. Witt spoke
   5     to my clients about their hour complaints.
   6                          Do you know what Mr. Witt and my clients
   7     discussed in that conversation?
   8                          MR. JONES:        Objection.             Form.
   9             A.           No.
 10              Q.           Now, you said you issued a write-up to Mr.
 11      Ruiz and to Mr. Witt, correct?
 12              A.           Correct.
 13              Q.           Do either of those individuals still work for
 14      Southern Road & Bridge today?
 15              A.           No.
 16              Q.           And do you know the reason for well -- strike
 17      that.
 18                           Were either Mr. Ruiz or Mr. Witt terminated
 19      or did they voluntarily resign?
 20              A.           They voluntarily resigned.
 21              Q.           Okay.    And do you know, did they provide you
 22      personally with the reason for their designation?
 23              A.           Esequiel told me he needed to stay in Texas,
 24      he could not work on the road anymore.                                    And Ryan Witt I
 25      do not know.               He just resigned a little while ago.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 60
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 62 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           When did they resign?
   2             A.           Esequiel resigned in I think November or
   3     December, or December.                     And Ryan I believe was 2024, a
   4     few months ago I believe.
   5             Q.           Okay.    And was there any conversation with
   6     Mr. Witt or Mr. Ruiz regarding their employment and
   7     potential termination as a result of these forged time
   8     sheets?
   9             A.           Yes.
 10              Q.           Were you a member, participant in that
 11      conversation?
 12              A.           Yes.
 13              Q.           Who else was there?
 14              A.           No one.
 15              Q.           And what did you say to them?
 16              A.           I told them -- I gave them a written warning.
 17      If it keeps happening then we're going to have to look
 18      into terminating you.
 19              Q.           Okay.    Do you have a copy of that written
 20      warning?
 21              A.           Yes.
 22              Q.           Okay.    Sitting here today, can you access
 23      that written warning?
 24              A.           Yes.
 25              Q.           Okay.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 61
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 63 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           I know I sent them to the HR department, and
   2     Mr. Jones should have them, too, I believe.
   3             Q.           Do you know if Nick and Alonzo reported
   4     anything else to you regarding Mr. Ruiz or Mr. Witt's
   5     behavior?
   6             A.           No.
   7             Q.           Did Alonzo or Nick ever report to you that
   8     there were drugs used on the company site?
   9             A.           No.
 10              Q.           Okay.    Are you aware of what Mr. Ruiz and Mr.
 11      Reyes messaged my clients following their termination
 12      from SRB?
 13                           MR. JONES:        Object to form.
 14              A.           No.
 15              Q.           Do you have knowledge of any threats made to
 16      my clients by SRB employees following their termination
 17      from SRB?
 18              A.           No.
 19              Q.           Now I'd like to show you what I'll mark as
 20      Plaintiff's Exhibit 2.                     Let me know when you can see
 21      the document.
 22                           (Exhibit No. 2 marked for identification.)
 23              A.           I can see it.
 24              Q.           Let me know if you'd like me to zoom in,
 25      however this document is -- I'll zoom in on the bottom

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 62
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 64 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     left.         There is a little marker here.                            Do you see that?
   2     400065?
   3             A.           Mm-hmm, yes.
   4             Q.           This just indicates that this handbook was
   5     sent to me by Mr. Jones's office.                               Do you understand?
   6             A.           Yes.
   7             Q.           And do you know what this document is?
   8             A.           It's an employee handbook.
   9             Q.           Okay.    And for which company?
 10              A.           Southern Road & Bridge.
 11              Q.           All right.        And I know you -- we both see the
 12      screen, but it is for the record when the court
 13      reporter types it down.                      Okay?
 14              A.           Yes.
 15              Q.           Now it states January 21, 2023 on it.
 16                           So is it understood that this is the employee
 17      handbook for the year of 2023 for Southern Road &
 18      Bridge?
 19              A.           Yes.
 20              Q.           Okay.    Now I'd like to bring your attention
 21      to page 46, which states "standards of conduct".                                             Do
 22      you see that?
 23              A.           Yes.
 24              Q.           Okay.    Now, it states that "Southern Road &
 25      Bridge LLC strives for a healthy and safe work

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 63
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 65 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     environment for all employees.                            Workplace rules and
   2     standards of conduct observed by Southern Road & Bridge
   3     LLC are essential to a healthy and productive
   4     workplace.             All employees are urged to familiarize
   5     themselves with these rules and standards, as they will
   6     be held accountable for upholding them".
   7                          And I'm not going to read the rest, but I
   8     will ask you to read the rest of the paragraph and the
   9     next one to yourself, and let me know when you are
 10      ready you to answer questions about it.
 11              A.           Can you make it larger?
 12              Q.           Yes.    Just read it to yourself and let me
 13      know you've read the whole thing?
 14              A.           Okay.
 15              Q.           Now, the first example of misconduct is
 16      "falsification of time keeping records".
 17                           Do you see that?
 18              A.           Yes.
 19              Q.           Okay.    Now in the standards of conduct it
 20      says "behaviors such as these, as well as any other
 21      misconduct, may result in disciplinary action, up to
 22      and including termination of employment".
 23                           Do you see that?
 24              A.           Yes.
 25              Q.           Who makes the determination of what

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 64
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 66 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     discipline is assigned to any action of misconduct for
   2     the company?
   3             A.           Myself when it comes to my team.
   4             Q.           And who is your team?
   5             A.           My superintendent and my foreman.
   6             Q.           Okay.    Now to be clear, the discipline
   7     assigned to actions of misconduct are subjectively
   8     assigned by yourself; is that correct?                                    Or is there a
   9     clear written structure where a certain act of
 10      misconduct results in a specific discipline?
 11                           MR. JONES:        Object to form.
 12              A.           There's nothing written except for the
 13      employee handbook.
 14              Q.           Is there a chart that assigns discipline to
 15      certain acts of misconduct?
 16              A.           No.
 17              Q.           So you subjectively assigned discipline to
 18      acts of misconduct conducted by your foremen and
 19      superintendents, correct?
 20              A.           And with discussion with HR.                         So yes.
 21              Q.           Okay.    And did you discuss Mr. -- well, when
 22      you were discussing the forgery of time sheets with Mr.
 23      Ruiz and Mr. Witt, what did they tell you?
 24              A.           They apologized, and said they would not do
 25      it again.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 65
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 67 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           Did they both have knowledge of the documents
   2     being forged?
   3             A.           They both looked at them, yes.
   4             Q.           And did one of them say that they forged the
   5     signatures of the employees?
   6             A.           Yes.
   7             Q.           Which one?
   8             A.           Esequiel.
   9             Q.           Okay.    But did Mr. Witt have knowledge that
 10      Esequiel forged the employees's signatures on the time
 11      sheets?
 12                           MR. JONES:        Object to form.
 13              A.           I do not remember.
 14              Q.           Did Mr. Witt tell you that he knew Esequiel
 15      was forging the employees's signatures on the time
 16      sheets?
 17              A.           I don't remember.
 18              Q.           Well, why was Mr. Witt punished if Esequiel
 19      was the one forging time sheets?
 20              A.           Because he was the supervisor over Esequiel,
 21      and he was supposed to be reviewing those time sheets.
 22              Q.           So he was punished for failure to supervise
 23      the time sheets or what exactly was he punished for?
 24              A.           Reviewing the time sheets.
 25              Q.           For reviewing the time sheets and failing to

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 66
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 68 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     report forgery, correct?
   2             A.           Correct.
   3             Q.           So does that mean -- did Mr. Witt tell you he
   4     knew the forgery was occurring and happening at the
   5     time?
   6                          MR. JONES:        Object to form.
   7             A.           Rephrase the question, please.
   8             Q.           Did Mr. Witt ever tell you that the forgery
   9     was -- strike that.
 10                           Did Mr. Witt tell you he knew the forgery of
 11      signatures was happening at the time?
 12                           MR. JONES:        Form.
 13              A.           No.
 14              Q.           Okay.    Did Mr. Witt tell you afterwards that
 15      he knew the forgery of time sheets was happening?
 16              A.           After our discussion where I noticed it, yes.
 17              Q.           Okay.    Now, did you discuss with HR Mr. Witt
 18      Mr. Ruiz's knowledge of the forgery of time sheets?
 19              A.           Yes.
 20              Q.           And did you discuss with HR that Mr. Ruiz
 21      personally forged dozens of time sheets?
 22                           MR. JONES:        Object to form.
 23              A.           Yes.
 24              Q.           And what did HR tell you in response?
 25              A.           We discussed writing them up and disciplining

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 67
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 69 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     them.
   2             Q.           Did you ever discuss or talk about
   3     terminating them?
   4             A.           Yes.
   5             Q.           And what happened with that discussion with
   6     regards to termination?
   7             A.           If they did it again they would be
   8     terminated.
   9             Q.           Okay.    Did you not believe that doing it time
 10      and time again was not sufficient to terminate Mr.
 11      Ruiz?
 12              A.           Not at the time.
 13              Q.           You understood how serious these actions were
 14      in terms of being a criminal violation?
 15              A.           I guess I didn't understand the seriousness
 16      of it, no.
 17              Q.           Did HR ever explain to you how serious this
 18      conduct was?
 19              A.           No.    They said it was wrong.
 20              Q.           So HR never disclosed to you the serious
 21      nature of falsely forging employee signatures onto time
 22      sheets that resulted in their compensation?
 23              A.           They discussed it and said it was wrong, yes.
 24              Q.           But HR did not recommend Mr. Ruiz be
 25      terminated; is that correct?

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 68
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 70 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           Correct.
   2             Q.           Okay.    Do you recall any discrepancies with
   3     Mr. Ford's hiring with regards to his initial wage when
   4     he began working for the company?
   5             A.           No.
   6             Q.           Do you recall when Mr. Ford was terminated by
   7     the company?
   8             A.           I do not recall the actual date.
   9             Q.           I'll show you what I will mark as Exhibit 3.
 10                           (Exhibit No. 3 marked for identification.)
 11      BY MR. BARROUKH:
 12              Q.           Can you see the document?
 13              A.           Yes.
 14              Q.           What does this look like to you?
 15              A.           That is Ryan Witt's termination form.
 16              Q.           Okay.    And again, this was produced by your
 17      attorney's office as seen in the bottom left-hand
 18      corner.
 19                           Now does this date, November 6, 2023, seem
 20      accurate with regards to the date Mr. Ford was
 21      terminated by SRB? object to form?
 22              A.           Yes.
 23              Q.           Okay.    Now I'm going to show you what I'll
 24      mark as Plaintiff's Exhibit 4.
 25                           (Exhibit No. 4 marked for identification.)

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 69
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 71 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     BY MR. BARROUKH:
   2             Q.           Let me know when you can see the document.
   3             A.           I can see it.
   4             Q.           Okay.    Do you know what this document is?
   5             A.           Nick Ford's termination form.
   6             Q.           It also states that he's notified of his
   7     termination on July 29, 2023 and he is not eligible for
   8     rehire.
   9                          Do you see that?
 10              A.           Yes.
 11              Q.           Have you ever seen this form before?
 12              A.           No.
 13              Q.           Do you know why this form was drafted and
 14      filed?
 15                           MR. JONES:        Object to form.
 16              A.           No.
 17              Q.           Is it a company policy to mark on an employee
 18      termination notice that an employee is not eligible for
 19      rehire, and then to rehire that employee again anyways?
 20              A.           I believe so.
 21              Q.           Do you know why Mr. Ford marked as not
 22      eligible for rehire on this form?
 23              A.           I do not.
 24              Q.           Okay.    Who would know?
 25              A.           Ryan Witt.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 70
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 72 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           Okay.    And is that his signature on the
   2     bottom of this page?
   3                          MR. JONES:        Object to form.
   4             A.           Yes.
   5             Q.           Okay.
   6                          (Exhibit No. 5 marked for identification.)
   7     BY MR. BARROUKH:
   8             Q.           I'll share with you what I marked as
   9     Plaintiff's Exhibit 5.
 10              A.           I can see it.
 11              Q.           Would you like me to zoom in?
 12              A.           Yes, please.          It's very small.
 13              Q.           Okay.    Now can you see the texts?
 14              A.           Yes.
 15              Q.           Okay.    I'm not going to ask you to read the
 16      text, but read it to yourself.
 17              A.           Yes.
 18              Q.           Do you know who Trouble is?
 19              A.           I heard it was a nickname for somebody.                                   I'm
 20      not exactly sure.
 21              Q.           Okay.    I believe it was a nickname for Alonzo
 22      Hawkins.             Okay?
 23              A.           Okay.
 24              Q.           Let me represent that to you.
 25                           Now again, I can't confirm exactly whose

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 71
         Case 3:24-cv-00404-MCR-ZCB              Document 21-4         Filed 06/05/25        Page 73 of 124
Deposition of George Pappas                                 Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     phone number this is, but from what was represented by
   2     my client this is a former colleague from Southern Road
   3     & Bridge.             Okay?
   4             A.           Okay.
   5             Q.           Now if you continue scrolling, read this
   6     message to yourself, please.
   7             A.           Okay.
   8             Q.           Have you ever seen this message before?
   9             A.           No.
 10              Q.           Do you know who Alfredo is?
 11              A.           He was another employee.
 12              Q.           Okay.     Now, do you know whose phone number
 13      this is?
 14              A.           I'm not sure.
 15                           MR. BARROUKH:            Okay.        We can take a
 16              five-minute break, as well.
 17                           (Brief recess taken.)
 18      BY MR. BARROUKH:
 19              Q.           George, I'm going to show you another
 20      document that I'll mark as Plaintiff's Exhibit 6.
 21                           (Exhibit No. 6 marked for identification.)
 22      BY MR. BARROUKH:
 23              Q.           Let me know when you can see the document.
 24              A.           I can see it.
 25              Q.           Please read the messages to yourself.

                                       215-341-3616 transcripts@everestdepo.com
                                              Everest Court Reporting LLC                                        Page: 72
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 74 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           Okay.
   2             Q.           Now, I can represent to you that this is a
   3     text message sent or exchanged between Roach, who I'm
   4     not sure who this is, my client Alonzo Hawkins and
   5     Isaac Ruiz.
   6             A.           Okay.
   7             Q.           Now, do you see Isaac's message on the bottom
   8     of the page?
   9             A.           Yes.
 10              Q.           Did you ever hear Isaac use racial slurs like
 11      the "N" word used here?
 12              A.           No.
 13              Q.           Did you ever hear Isaac use the "N" word in
 14      the workplace?
 15              A.           No.
 16              Q.           Were you ever told Isaac used the "N" word in
 17      the workplace?
 18              A.           No.
 19              Q.           Is Isaac African American or black?
 20              A.           No.
 21              Q.           Do you believe it's acceptable for anybody to
 22      use the "N" word in the workplace?
 23              A.           No.
 24              Q.           Do you believe it's acceptable for a foreman,
 25      a non-black foreman to use the "N" word to a black

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 73
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 75 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     subordinate?
   2             A.           No.
   3             Q.           Okay.    Have you seen this text exchange
   4     before?
   5             A.           No.
   6             Q.           Okay.    I'll show you what I'll mark as
   7     Plaintiff's Exhibit 7.                     Let me know when you can see
   8     the document.
   9                          (Exhibit No. 7 marked for identification.)
 10              A.           I can see it, but it's small.
 11              Q.           Let me zoom in for you.                    And let me represent
 12      to you that this is a group chat between Mr. Hawkins,
 13      Ryan Witt, Mr. Ruiz and other unnamed individuals.
 14      Okay?
 15              A.           Okay.
 16              Q.           Now, just take a moment to read it and let me
 17      know when you want me to scroll.                              Okay?
 18              A.           Okay.    You can scroll.                 Okay.
 19              Q.           All right.        Now do you know who Roach is?
 20              A.           It's a nickname for one of them.                             I'm not
 21      sure which one it was.
 22              Q.           No problem.
 23                           Now, again in a group chat with seven total
 24      people including Ryan Witt, Mr. Ruiz again uses the "N"
 25      word in two different messages.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 74
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 76 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1                          Do you see that?
   2             A.           Yes.
   3             Q.           Do you believe at this point Mr. Witt should
   4     have reported Mr. Ruiz's conduct?
   5                          MR. JONES:        Object to form.
   6             A.           Yes.
   7             Q.           And did Mr. Witt ever report this conduct to
   8     you?
   9             A.           No.
 10              Q.           Had Mr. Witt reported this conduct to you,
 11      what would your process have been?
 12                           MR. JONES:        Object to the form.
 13              A.           I would have discussed it with the HR
 14      department and let them handle it.
 15              Q.           Okay.    Do you believe that either of those
 16      messages are appropriate?
 17              A.           No.
 18              Q.           And again, with regards to Isaac's comments
 19      "beaner hallway", do you know what that means?
 20              A.           I do not.
 21              Q.           Do you believe that's a derogatory slur
 22      towards a certain group of Hispanic individuals?
 23                           MR. JONES:        Object to form.
 24              A.           I don't know what that means.
 25              Q.           Okay.    Do you know why he would say it?

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 75
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 77 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1                          MR. JONES:        Objection to form.
   2             A.           I do not.
   3             Q.           Thank you.
   4                          Are you aware if my clients reported their
   5     hour dispute to Mr. Ruiz or Mr. Witt?
   6             A.           Yes, I did know they reported it to Ryan
   7     Witt.
   8             Q.           Okay.    Now, I'm going to go with help and
   9     show you what I'll mark as Plaintiff's Exhibit 8.                                              Let
 10      me know when you can see the document.
 11                           (Exhibit No. 8 marked for identification.)
 12              A.           Can you zoom in?
 13              Q.           Yes.
 14                           Now, let me tell you that this document
 15      reflects a communication between Mr. Ruiz and Mr.
 16      Hawkins?
 17              A.           Okay.
 18              Q.           Read it to yourself and let me know when
 19      you're ready to answer questions.
 20              A.           Okay.
 21              Q.           All right.        To be clear, I know it is cut off
 22      on the bottom, but it does say "system to track hours
 23      of people".             Do you understand?
 24              A.           Okay.
 25              Q.           Now, what does this message appear to you as?

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 76
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 78 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           It appears to Alonzo asking Isaac about his
   2     hours, and he's saying report it to Ryan.
   3             Q.           Okay.    And again, Isaac says that "they
   4     should have a file record, I don't know how they
   5     operate but sure, they have a system to track hours of
   6     people".
   7                          Do you see that?
   8             A.           Yes.
   9             Q.           Is that true?           Does Isaac not understand how
 10      they track hours of people?
 11                           MR. JONES:        Object to form.
 12              A.           I don't know how he could know that.
 13              Q.           Are foreman taught and trained how to record
 14      hours of their employees at SRB?
 15              A.           Yes.    They're trained to use that time sheet.
 16              Q.           Okay.    Now I'm showing you what I'm marking
 17      as Plaintiff's Exhibit 9.
 18                           (Exhibit No. 9 marked for identification.)
 19      BY MR. BARROUKH:
 20              Q.           Let me know when you can see the document.
 21              A.           I can see it.
 22              Q.           Okay.    Now, let me represent to you that this
 23      is a text message between Alonzo Hawkins, Isaac Ruiz,
 24      Pollo Ruiz who we believe is Fidencio Reyes --
 25              A.           Correct.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 77
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 79 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           -- and several other people.
   2                          Do you see that?
   3             A.           Yes.
   4             Q.           Now, are you aware that Mr. Ford's nickname
   5     when he worked for SRB was Buck?
   6             A.           No.
   7             Q.           Well, let me represent to you that Mr. Ford
   8     went by "Buck" as a nickname, okay?
   9             A.           Okay.
 10              Q.           Please read the text message, and let me when
 11      you're done reading.
 12              A.           Okay.
 13              Q.           Okay.    Now, what do you understand this text
 14      from Isaac to be saying?
 15              A.           It seems like he's talking about -- talking
 16      with Ryan it looks like.                       I'm not 100 percent sure.
 17      Talking about something about hours and meeting up at
 18      the yard to go over the hours and the problems they're
 19      having or -- and to be like men and not snitches or
 20      something about women or something like that.
 21              Q.           Now, you see "snitching is hoe shit and "you
 22      better than us know that Trouble" -- who was Alonzo
 23      Hawkins -- "your own brother trying to throw us under
 24      the bus".
 25                           Do you see that?

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 78
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 80 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           Yes.
   2             Q.           Do you know what Hawkins is referring to when
   3     he says "snitching is hoe shit"?                              Do you know what
   4     specific act he's referring to?
   5                          MR. JONES:        Objection to form.
   6             A.           No.
   7             Q.           All right.        I'm going to show you what I'm
   8     mark as Plaintiff's Exhibit 10.
   9                          (Exhibit No. 10 marked for identification.)
 10      BY MR. BARROUKH:
 11              Q.           And this was produced to your attorney that's
 12      office as Plaintiff's Bates number AH25.
 13                           Do you see that?
 14              A.           Yes.
 15              Q.           Now let me represent to you that this is a
 16      text message exchanged between a group of six people
 17      including Fidencio Ruiz, Esequiel Ruiz, and my client
 18      Alonzo Hawkins amongst other people, okay?
 19              A.           Okay.
 20              Q.           Now Isaac states "I don't know but I just ass
 21      chewed cuz of my hours that me and Pollo get more hours
 22      but I like y'all so I make sure we all bring a paycheck
 23      home to our families.                    So I as a responsibility try and
 24      make sure we have work cuz no work means no money so no
 25      purposes of us being out of town".

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 79
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 81 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1                          Do you see that?
   2             A.           Yes.
   3             Q.           Do you know what Mr. Ruiz is referring to in
   4     that message?
   5                          MR. JONES:        Object to form.
   6             A.           No.
   7             Q.           And Fidencio replies "first of all who ever
   8     say and watching me they need with watch their job.                                                I
   9     dnt need no baby sitter if thers sum sum one" -- I
 10      don't reall know what that means.                               However he does
 11      state "whoever say and watching me, they need to watch
 12      their job".
 13                           Do you see that?
 14              A.           Yes.
 15              Q.           Do you understand that to be a threat in any
 16      way, shape or form?
 17                           MR. JONES:        Object to form.
 18              A.           Yes.
 19              Q.           Okay.    And Isaac is in the group chat and was
 20      Fidencio's foreman.
 21                           Do you believe Isaac had a duty to report any
 22      threats made by his employees?
 23              A.           Yes.
 24              Q.           And was a threat ever reported by Isaac to
 25      Mr. Witt or to yourself?

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 80
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 82 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           Not to myself.            And I cannot answer to Ryan
   2     Witt.
   3             Q.           Okay.    And again, because you did not go to
   4     the work site with my clients you do not have any
   5     knowledge of what occurred or transpired at those
   6     worsteds, correct?
   7             A.           Correct.
   8             Q.           Okay.    I'm going to show you what I'm marking
   9     as Plaintiff's Exhibit 11.
 10                           (Exhibit No. 11 marked for identification.)
 11      BY MR. BARROUKH:
 12              Q.           Let me know when you can see this document.
 13              A.           I can see it.
 14              Q.           Let me represent to you that this is a signed
 15      declaration of Dezmond Jones.
 16                           Do you know who Dezmond Jones is?
 17              A.           No.
 18              Q.           Okay.    Now as you can see, Mr. Jones says "I
 19      worked alongside Mr. Ford and Mr. Hawkins at Southern
 20      Road & Bridge LLC".
 21                           Do you see that?
 22              A.           I'm sorry.        Yes.       He was one of our
 23      employees.
 24              Q.           Do you recall Mr. Jones now?
 25              A.           Yes.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 81
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 83 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           How do you know Mr. Dezmond Jones?
   2             A.           He was an employee.                That's all I know.
   3             Q.           Did you ever meet Mr. Jones in person?
   4             A.           No.
   5             Q.           Did you ever speak with Mr. Jones over the
   6     phone?
   7             A.           I do not recall.
   8             Q.           Okay.    Please read to yourself paragraph nine
   9     of Mr. Jones's statement.
 10              A.           Okay.
 11              Q.           Were you aware of any of the conduct
 12      discussed in paragraph nine of Mr. Jones's statement?
 13              A.           No.
 14              Q.           Do you believe that if this occurred on the
 15      job site it was the foreman's responsibility to report
 16      this conduct?
 17                           MR. JONES:        Objection.             Form.
 18              A.           Yes.
 19              Q.           And did you ever receive a report from the
 20      foreman or the superintendent of this conduct
 21      occurring?
 22              A.           No.
 23              Q.           All right.        Could you please continue reading
 24      to yourself?
 25              A.           Okay.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 82
         Case 3:24-cv-00404-MCR-ZCB            Document 21-4         Filed 06/05/25        Page 84 of 124
Deposition of George Pappas                               Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           Now Mr. Jones states that "SRB further
   2     discriminated against its black employees including
   3     myself, Mr. Ford and Mr. Hawkins".
   4                          Do you understand?
   5             A.           Yes.
   6             Q.           Do you understand that Mr. Jones did not file
   7     or bring forth this lawsuit?
   8             A.           Yes.
   9             Q.           Did you understand that Mr. Jones is not an
 10      interested party in this lawsuit to the extent he will
 11      not recover any money or anything if the plaintiffs
 12      within?
 13              A.           Yes.
 14              Q.           Now, Mr. Jones is stating that "Mr. Ruiz did
 15      not let black employees drive company cars, did not let
 16      black employees stop to eat lunch, and did not let
 17      black employees use the porta potties on the job site".
 18                           Do you understand that's Mr. Jones's
 19      declaration?
 20              A.           Yes.
 21              Q.           Is any of that acceptable in accordance with
 22      SRB's policies?
 23              A.           No.
 24              Q.           Was any of that ever reported to you during
 25      your employment with SRB?

                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                        Page: 83
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 85 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           No.
   2             Q.           Mr. Jones even states that "on one occasion I
   3     saw Mr. Ruiz deny Mr. Hawkins the ability to use the
   4     restroom, and Mr. Ruiz told Mr. Hawkins to urinate and
   5     defecate beneath one of the bridges we were working
   6     on".
   7                          Do you see that?
   8             A.           Yes.
   9             Q.           What is your thought on that?
 10                           MR. JONES:        Objection.             Form.
 11              A.           It's untolerable.
 12              Q.           Now, please to yourself read paragraphs 15
 13      through 17.
 14              A.           Okay.
 15              Q.           Was any of this ever brought to your
 16      attention during your employment with Southern Road &
 17      Bridge?
 18              A.           No.
 19              Q.           Number 18.        Mr. Jones states "during my
 20      employment for SRB I never signed a time sheet to
 21      confirm the number of hours I worked".
 22                           Do you see that?
 23              A.           Yes.
 24              Q.           Do you know how long Mr. Jones was employed
 25      by Southern Road & Bridge?

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 84
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 86 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           I do not recall.
   2             Q.           Do you know how many time sheets per week
   3     these employees were required to sign?
   4             A.           Five.
   5             Q.           Okay.    And in number 20 Mr. Jones states "I
   6     complained to Mr. Ruiz about my compensation on many
   7     occasions because the number of hours SRB paid me was
   8     significantly less than the number of hours I actually
   9     worked".
 10                           Do you see that?
 11              A.           Yes.
 12              Q.           At any point did Mr. Witt or Mr. Ruiz bring
 13      this complaint to your attention?
 14              A.           No.
 15              Q.           And Mr. Jones states "within five days of my
 16      last complaint to Mr. Ruiz about the failure to pay me
 17      owed wages, SRB, by and through Mr. Ruiz, terminated my
 18      employment".
 19                           Do you see that?
 20              A.           Yes.
 21              Q.           Do you know if Mr. Ruiz has the authority to
 22      terminate employees?
 23              A.           No.
 24              Q.           Would there be a termination notice for Mr.
 25      Dezmond Jones?

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 85
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 87 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           There should have been from Ryan Witt.
   2             Q.           Okay.    Have you checked your system to see if
   3     there's a termination notice for Mr. Dezmond Jones?
   4             A.           I have not checked.                I can look.
   5             Q.           Okay.    We may need you to.                       I will let you
   6     know.
   7             A.           Okay.
   8             Q.           Now, have you ever heard of these complaints
   9     from Dezmond Jones or from any other employees at
 10      Southern Road & Bridge apart from my clients?
 11              A.           No.
 12              Q.           How regularly did you speak with Mr. Ruiz?
 13              A.           Very minimal.           Maybe one to five times in the
 14      six months.
 15              Q.           And based off Mr. Jones's statements, and
 16      again I can show them to you, do you believe Mr. Ruiz
 17      properly followed SRB company policy?
 18                           MR. JONES:        Object to form.
 19              A.           No.
 20              Q.           And had you known about Mr. Ruiz's conduct
 21      which did not follow SRB company policy, what action
 22      would you have taken against him?
 23                           MR. JONES:        Objection to form.
 24              A.           There would have been discussion with him and
 25      the HR department.

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 86
         Case 3:24-cv-00404-MCR-ZCB              Document 21-4         Filed 06/05/25        Page 88 of 124
Deposition of George Pappas                                 Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.            Okay.    All right.            Give me a couple minutes,
   2     George.              I think I'm almost done.                    I just want to go
   3     over a couple things but, I may be done?
   4                           (Brief recess taken.)
   5     BY MR. BARROUKH:
   6             Q.            I only have two more things to show you.                                    The
   7     first thing I'm going to show you is what I'm marking
   8     as Plaintiff's Exhibit 12.                         So let me know when you can
   9     see the document, and I will zoom in if you need.
 10                            (Exhibit No. 12 marked for identification.)
 11      BY MR. BARROUKH:
 12              Q.            All right.        Do you understand or have you
 13      ever seen this document before?
 14              A.            I can't see it.
 15              Q.            No.    All right.           Let me represent to you that
 16      an interrogatory is ultimately a written set of
 17      questions that whoever answers them has to provide a
 18      written response, right, and the words are binding on
 19      the company.                Meaning Mr. Jones, Arthur, is confirming
 20      that he's producing these documents or these responses
 21      to us.          And at the bottom of the page you can see Keam
 22      Christofilis is confirming that the answers are true to
 23      the best of his knowledge.
 24                            Do you see that?
 25              A.            To her knowledge, yes.

                                       215-341-3616 transcripts@everestdepo.com
                                              Everest Court Reporting LLC                                        Page: 87
         Case 3:24-cv-00404-MCR-ZCB            Document 21-4         Filed 06/05/25        Page 89 of 124
Deposition of George Pappas                               Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           Her.   Excuse me.
   2                          Now I'd like to bring your attention to
   3     response number 18, okay?                       Interrogatory 18 asks SRB to
   4     "identify any investigations or inquiries conducted in
   5     response to any complaints of discrimination or
   6     harassment reported by the plaintiff to defendant".
   7                          Do you understand?
   8             A.           Yes.
   9             Q.           Now, the answer here is that "plaintiff never
 10      made any complaints or any reporting regarding any
 11      discrimination or harassment".
 12                           Do you see that?
 13              A.           Yes.
 14              Q.           You previously told me that Mr. Ford and
 15      Hawkins complained to you about race discrimination in
 16      the form of their hours not being paid properly; isn't
 17      that correct?
 18              A.           Correct.
 19              Q.           Do you believe that this is an incorrect
 20      answer?
 21                           MR. JONES:       Object to form.
 22              A.           I believe it's subjective.
 23              Q.           How so?
 24              A.           Does it pertain to Keam herself or the
 25      company or myself?

                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                        Page: 88
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 90 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             Q.           This -- so without, you know, speaking too
   2     broadly, the answer reflects the company's response
   3     which includes the valid knowledge and information of
   4     the agents of the companies including yourself.                                            So
   5     when this question is asked, the company has a duty to
   6     investigate it and make sure they ask their managers,
   7     their HR specifically, and they generate this response
   8     based on what they discover.
   9                          MR. BARROUKH:           And Arthur, if you want to
 10              jump in and give him any other understanding,
 11              please feel free do so.
 12      BY MR. BARROUKH:
 13              Q.           So this question is being asked to the
 14      company all inclusive of the information its agents or
 15      its HR has, as well.                   Okay?
 16              A.           Yes.    So that would be incorrect.
 17              Q.           Okay.    Now, just to clearly respond to this
 18      interrogatory number 18, could you please explain the
 19      nature of the complaint or allegation -- excuse me.
 20      Strike that.
 21                           You did report that you spoke to HR about my
 22      client's complaint of discrimination, correct?
 23              A.           Correct.
 24              Q.           To your knowledge, was there an investigation
 25      done by HR into your discussion regarding my client's

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 89
         Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 91 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     complaint of discrimination?
   2                          MR. JONES:        Objection, form.
   3             A.           I do not know.            Not to my knowledge.
   4             Q.           Okay.    Now I'll show you what I'll mark as
   5     Plaintiff's Exhibit 13.
   6                          (Exhibit No. 13 marked for identification.)
   7     BY MR. BARROUKH:
   8             Q.           And again, let me explain to you that this is
   9     Mr. Hawkins's questions to Southern Road & Bridge.                                               And
 10      again Cole, Scott & Kissane has asserted that they are
 11      sending the document to us.                         And on the bottom you can
 12      see that Keam Christofilis, she signed the document
 13      confirming that the answers are true to the best of
 14      their knowledge and belief.                         Do you see that?
 15              A.           Yes.
 16              Q.           All right.        Now again, the same issue as to
 17      the first set of interrogatories is present here, and
 18      that is in interrogatory 17 where it asked SRB to
 19      "identify any investigations or inquiries conducted in
 20      response to any complaints of discrimination or
 21      harassment reported to the defendant".
 22                           Do you see that?
 23              A.           Yes.
 24              Q.           And the response is that "plaintiff never
 25      made any complaints or any reporting regarding any

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 90
         Case 3:24-cv-00404-MCR-ZCB              Document 21-4         Filed 06/05/25        Page 92 of 124
Deposition of George Pappas                                 Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     discrimination or harassment".
   2                          Do you see that?
   3             A.           Yes.
   4             Q.           And again, sitting here today based on what
   5     you told me, is this statement true?
   6             A.           Partly.       The discrimination yes.                         The
   7     harassment was never brought up.
   8             Q.           So this statement is incorrect as to the
   9     plaintiff's reporting discrimination; is that fair to
 10      say?
 11              A.           Yes.
 12              Q.           Okay.     And again, with regards to Mr.
 13      Hawkins, do you know if HR investigated your discussion
 14      informing them that Mr. Hawkins complained of race
 15      discrimination?
 16                           MR. JONES:         Object to form.
 17              A.           Not to my knowledge.
 18              Q.           I have no further questions.
 19              A.           Thank you.
 20              Q.           Mr. Jones may have questions for you at this
 21      time.         If he does.
 22                           MR. BARROUKH:            Arthur, feel free.
 23      CROSS-EXAMINATION BY MR. JONES:
 24              Q.           Right.      George, I do have couple follow-up
 25      questions.

                                       215-341-3616 transcripts@everestdepo.com
                                              Everest Court Reporting LLC                                        Page: 91
         Case 3:24-cv-00404-MCR-ZCB            Document 21-4         Filed 06/05/25        Page 93 of 124
Deposition of George Pappas                               Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1                          Regarding the complaints that Mr. Hawkins and
   2     Mr. Ford made regarding their hours, could you kind of
   3     explain the process of what you were willing to do to
   4     attempt to remedy this situation if there was an issue
   5     that was found?
   6                          MR. BARROUKH:          Objection to form.                     You can
   7             answer.
   8             A.           Yes.   The remedy was to meet them on-site and
   9     to go over the time sheets with them with the foreman
 10      and superintendent and get the issue resolved that they
 11      were stating.
 12              Q.           In what ways were you looking to try to
 13      verify if their hours were correct or if there was any
 14      discrepancies in the hours?
 15              A.           I would have all of us verify and show any
 16      documentation on the hours that they had started, and
 17      that they allegedly said that we did not put on the
 18      time sheet and that they were improperly paid, and then
 19      I would get them paid.
 20              Q.           And during these discussions when you reached
 21      out both to Mr. Ford and Mr. Hawkins, did they at any
 22      point engage you and provide any type of documentation?
 23              A.           No.
 24              Q.           And during this time when you were attempting
 25      to meet with them to discuss their hours and if there

                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                        Page: 92
         Case 3:24-cv-00404-MCR-ZCB            Document 21-4         Filed 06/05/25        Page 94 of 124
Deposition of George Pappas                               Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     was any discrepancy, were they reporting to work at any
   2     time?
   3             A.           No.
   4             Q.           Did they provide any type of notice to their
   5     supervisor or yourself letting them know that they
   6     would be out during this time?
   7             A.           No.
   8             Q.           How long had they stopped showing up to work
   9     when you were looking into this hour situation?
 10              A.           Multiple days.
 11              Q.           And could you kind of explain why it's
 12      important for a member just within your workspace for
 13      an individual or an employee to show up for work each
 14      day or, you know, let someone know that they are not
 15      going to be there?
 16              A.           Yes.   They work with a team, and multiple
 17      things need to be done.                     So if they don't show up it
 18      affects the rest of the team with more jobs and more
 19      work, missing the man.                    So there's more man hours that
 20      are needed for the rest of the team.
 21              Q.           So the termination form that was entered in
 22      in this matter is just kind of like a formality to
 23      notify that the employee is not showing up for work?
 24                           MR. BARROUKH:          Objection to form.                     You can
 25              answer.

                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                        Page: 93
         Case 3:24-cv-00404-MCR-ZCB            Document 21-4         Filed 06/05/25        Page 95 of 124
Deposition of George Pappas                               Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           Correct.
   2             Q.           Were Nicholas Ford and Alonzo Hawkins
   3     actually terminated in this matter?
   4                          MR. BARROUKH:          Objection to form.                     You can
   5             answer.
   6             A.           No.
   7             Q.           How did their employment end with Southern
   8     Road & Bridge?
   9             A.           They were laid off due to job abandonment and
 10      no call-no show.
 11              Q.           Now, regarding any prior complaints that you
 12      had received from the employees, could you just kind of
 13      describe, you know, how the employees are informed of
 14      the different avenues that they can reach out to if
 15      they have an issue with their supervisor or a foreman
 16      or a superintendent?
 17                           MR. BARROUKH:          Objection to form.                     You can
 18              answer.
 19              A.           Yes.   In their employee handbook they have
 20      the ability to call the EEO office directly, the HR
 21      department directly, and myself and the office of
 22      Southern R&B.
 23              Q.           Is there anywhere in the office where this
 24      would be written down, this contact information?
 25              A.           Yes.   It's in their employee handbook.                                Also,

                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                        Page: 94
         Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 96 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     on the job there is a job board with all of the
   2     policies and state government requirements, OSHA, EEO
   3     officer, Board of Labor.                     All of that was visible by
   4     them.
   5             Q.           Now, did you receive any type of complaints
   6     from Mr. Hawkins or Mr. Ford regarding any
   7     inappropriate or racist language that made them feel
   8     uncomfortable?
   9                          MR. BARROUKH:         Objection.             Form.         You can
 10              answer.
 11              A.           No.
 12              Q.           Did you receive any complaints from any of
 13      the employees regarding hours missing from their time
 14      sheets?
 15              A.           No.
 16                           MR. JONES:      All right.             I have no other
 17              questions.
 18                           MR. BARROUKH:         I just have a couple quick
 19              questions.
 20      REDIRECT EXAMINATION BY MR. BARROUKH:
 21              Q.           Had you ever met Alonzo and Nicholas in
 22      person before asking to meet with them in person to go
 23      over their hours?
 24              A.           No.
 25              Q.           Had you ever spoken on the phone with Alonzo

                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                        Page: 95
         Case 3:24-cv-00404-MCR-ZCB            Document 21-4         Filed 06/05/25        Page 97 of 124
Deposition of George Pappas                               Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1     or Nicholas before you asked to meet them in person to
   2     go over their hours?
   3             A.           Yes.
   4             Q.           And how many times did you speak with them on
   5     the phone?
   6             A.           I believe it was the day before or -- once or
   7     twice as they were telling me the complaint.                                         And
   8     that's when I discussed that I could come and meet with
   9     them.
 10              Q.           So prior to that phone call, for the entire
 11      duration of Mr. Ford's employment you had never
 12      contacted either of them; is that correct?
 13              A.           Correct.      Nor had they contacted me.
 14              Q.           Understood.        But they, to that point they had
 15      no -- even during the phone call potentially Mr. Ford
 16      and Mr. Hawkins had no personal relationship or
 17      familiarity with you whatsoever; is that correct?
 18              A.           They had knowledge of me, but no familiarity
 19      or anything like that.
 20              Q.           Now, as you saw Mr. Hawkins and Ford's
 21      co-workers threaten them with physical violence, do you
 22      believe that one of the reasons that they did not want
 23      to meet with you at night on a random day after never
 24      seeing you before is because they were scared?
 25                           MR. JONES:       Objection, form.

                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                        Page: 96
         Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 98 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1             A.           No, I don't believe that.
   2             Q.           Why not?
   3             A.           Because they kept working.                       If they felt
   4     physical threat, they should have notified the
   5     authorities and notified HR or anybody else.                                        They kept
   6     working multiple weeks.
   7             Q.           Give me one moment.              I'm just looking for a
   8     document.
   9                          MR. BARROUKH:         All right.             I have no further
 10              questions at this time.
 11                           MR. JONES:      No questions.
 12                           MR. BARROUKH:         Ms.      Court reporter, we are
 13              not going ordering at this time, but I'll email the
 14              exhibits to you later today.
 15                           MR. JONES:      George, you have the right to
 16              read or waive the transcript.                         What that means is
 17              you can read it over and see if there's any
 18              grammatical mistakes that you need to correct.                                         You
 19              can't make any substantive changes.                               Or you can
 20              waive that and take the transcript as is.
 21                           THE WITNESS:        Okay.        I need to decide that
 22              now.
 23                           MR. BARROUKH:         Typically people read just to
 24              get the chance to correct any mistakes that there
 25              may be in the record.

                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                        Page: 97
         Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 99 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1                          MR. JONES:      You don't have to if you don't
   2             want to.
   3                          THE WITNESS:        I think I'm okay.                    I'll waive
   4             it.
   5                          (Thereupon, the deposition was concluded at
   6     12:35 p.m.)
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                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                        Page: 98
        Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 100 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1                                                  - - -
   2                                  E R R A T A              S H E E T
   3                                                  - - -
   4

   5     PAGE                 LINE       CHANGE
   6     _____                _____      __________________________________
   7     _____                _____      __________________________________
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 12      _____                _____      __________________________________
 13      _____                _____      __________________________________
 14      _____                _____      __________________________________
 15      _____                _____      __________________________________
 16      _____                _____      __________________________________
 17      _____                _____      __________________________________
 18      _____                _____      __________________________________
 19      _____                _____      __________________________________
 20      _____                _____      __________________________________
 21      _____                _____      __________________________________
 22      _____                _____      __________________________________
 23      _____                _____      __________________________________
 24      _____                _____      __________________________________
 25      _____                _____      __________________________________

                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                        Page: 99
        Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 101 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1                               ACKNOWLEDGMENT OF DEPONENT
   2

   3                          I,                                   , do hereby
   4     certify that I have read the foregoing pages and
   5     that the same is a correct transcription of the
   6     answers given by me to the questions therein
   7     propounded, except for the corrections or
   8     changes in form or substance, if any, noted in
   9     the attached Errata Sheet.
 10

 11

 12

 13

 14
                   __________              __________________________________
 15                Date                    Signature
 16

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                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                       Page: 100
        Case 3:24-cv-00404-MCR-ZCB          Document 21-4         Filed 06/05/25        Page 102 of 124
Deposition of George Pappas                             Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1                                  CERTIFICATE OF OATH
   2

   3     STATE OF FLORIDA :
   4     COUNTY OF BROWARD:
   5

   6     I, Michele Anzivino, Notary Public, State of Florida,
   7     do hereby certify that GEORGE PAPPAS, personally
   8     appeared before me via videoconferencing technology on
   9     March 4, 2025, and was duly sworn and produced driver's
 10      license/I.D.            as identification.
 11

 12                              Signed on March 4, 2025.
 13

 14                           _______________________________,
 15                                Michele Anzivino
 16                                Notary Public - State of Florida
 17                                My Commission Expires: 03/19/2027
 18                                My Commission No.: HH-375658
 19

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                                   215-341-3616 transcripts@everestdepo.com
                                          Everest Court Reporting LLC                                       Page: 101
        Case 3:24-cv-00404-MCR-ZCB        Document 21-4         Filed 06/05/25        Page 103 of 124
Deposition of George Pappas                           Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


   1                             CERTIFICATE OF REPORTER
   2

   3     STATE OF FLORIDA                            )
   4     COUNTY OF BROWARD                           )
   5

   6               I, Michele Anzivino, Court Reporter, do
         hereby certify that I was authorized to and did
   7     stenographically report the deposition of
         GEORGE PAPPAS, that a review of the transcript was not
   8     requested; and that the foregoing transcript, pages 1
         through 100, is a true and correct record of my
   9     stenographic notes.
 10
                   I FURTHER CERTIFY that I am not a relative,
 11      employee, or attorney, or counsel of any of the
         parties, nor am I a relative or employee of any of the
 12      parties' attorney or counsel connected with the action,
         nor am I financially interested in the action.
 13

 14                      DATED this 19th day of April, 2025.
 15

 16

 17

 18

 19

 20                      ____________________________________
                           MICHELE ANZIVINO, Court Reporter
 21                        Notary Public - State of Florida
                           My Commission Expires: 03/19/2027
 22                        My Commission No.: HH-375658
 23

 24

 25

                                 215-341-3616 transcripts@everestdepo.com
                                        Everest Court Reporting LLC                                       Page: 102
        Case 3:24-cv-00404-MCR-ZCB             Document 21-4         Filed 06/05/25        Page 104 of 124
Deposition of George Pappas                                Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


      WORD INDEX              33131   2:4                  91 3:6                          allegedly 92:17
                              33609   2:8                  95 3:7                          allow 5:11 46:25
 <0>                          34683   7:3                                                  allowed 26:17 45:1
 03/19/2027 101:17            34691   7:11                 <A>                             A-l-o 53:19
  102:21                                                   a.m 57:25                       alongside 81:19
                              <4>                          abandonment 39:16               ALONZO 1:4 17:6
 <1>                          4 1:13 3:5, 14 69:24,         94:9                            19:1 25:10 40:24
 1 3:11 51:9, 12              25 101:9, 12                 ability 21:14, 21                49:11 53:13 58:12
  102:8                       4:00 57:25                    22:4 26:24 84:3                 59:12, 15 62:3, 7
 10 3:18 79:8, 9              400065 63:2                   94:20                           71:21 73:4 77:1, 23
 100 19:9 78:16               45 9:17                      able 22:11 29:19                 78:22 79:18 94:2
  102:8                       46 63:21                     absenteeism 40:7, 12             95:21, 25
 10th 52:2                                                 acceptable 73:21, 24            Alonzo's 48:23
 11 3:18 81:9, 10             <5>                           83:21                          Alternate 7:2
 11th 52:3                    5 3:15 71:6, 9               access 52:20, 22                alternatives 42:2
 12 3:18 87:8, 10             50 23:11                      61:22                          American 73:19
 12:35 1:16 98:6              500 2:7                      accommodations                  amount 19:21 58:15
 13 3:18 90:5, 6              51 3:11                       14:16                          answer 5:19 19:9
 15 84:12                     520 2:3                      accountable 64:6                 25:19 28:14 31:2, 9
 17 84:13 90:18                                            accurate 19:12 69:20             32:8, 17 33:2 38:9,
 18 84:19 88:3 89:18          <6>                          ACKNOWLEDGMEN                   16 40:5 41:11, 12
 19 7:2                       6 3:16 69:19 72:20,          T 100:1                          42:22 43:25 44:4, 8
 19th 102:14                  21                           act 35:1 65:9 79:4               45:22 47:2 49:1, 2, 6,
                              60 23:11                     action 64:21 65:1               7 50:7 56:10 58:5
 <2>                          62 3:12                       86:21 102:12                    64:10 76:19 81:1
 2 3:12 23:11 62:20,          69 3:13, 14                  actions 65:7 68:13               88:9, 20 89:2 92:7
 22                                                        activities 27:20, 23             93:25 94:5, 18 95:10
 20 19:25 20:3 28:19          <7>                           44:21                          answers 4:22 5:2, 14
  85:5                        7 3:17 59:7 74:7, 9          activity 20:22 26:11,            87:17, 22 90:13
 200 18:25 47:5               7:00 57:25                   18, 21, 25 27:4, 8, 11           100:6
 2012 12:5                    700 2:7                       28:3 30:19, 23 31:5            anybody 7:15 10:11,
 2016 11:2 18:8               71 3:15                       45:9 46:13                     19 33:20 44:5 50:20
 2019 18:1                    72 3:16                      acts 65:15, 18                   59:20 73:21 97:5
 2023 19:2 52:2, 3            74 3:17                      actual 41:5 69:8                anymore 60:24
  59:7 63:15, 17 69:19        76 3:18                      adding 21:23                    anyways 70:19
  70:7                        77 3:18                      additional 52:15, 16            Anzivino 4:2 101:6,
 2024 61:3                    79 3:18                      address 4:13 7:1, 7, 8          15 102:6, 20
 2025 1:13 101:9, 12          7th 52:2                     affirmed 4:8                    apart 17:15 24:14
  102:14                                                   African 73:19                    34:5 38:3 40:1
 21 63:15                     <8>                          agents 89:4, 14                  58:11 86:10
 29 70:7                      8 3:18 76:9, 11              ago 8:11 19:7 50:12             apologize 50:11
 2907 7:10                    8:00 43:7                     60:25 61:4                     apologized 65:24
 2997 7:2                     81 3:18                      agree 53:12                     appeal 43:11
                              87 3:18                      AH25 3:18 79:12                 appear 76:25
 <3>                                                       ahead 51:8                      APPEARANCES 2:1
 3 3:13 69:9, 10              <9>                          A-l-a 53:18                     appeared 101:8
 3:24-cv-00404-MCR            9 3:18 77:17, 18             A-l-a-n-z-o 53:15               appearing 7:13, 22
  1:1                         9:33 1:16                    Alfredo 72:10                   appears 77:1
 30 9:17 58:1                 90 3:18                      allegation 89:19                applied 39:24


                                      215-341-3616 transcripts@everestdepo.com
                                             Everest Court Reporting LLC                                       Page: 103
        Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 105 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 apply 45:5                   back 14:5 17:7 18:1        black 41:25 73:19,               39:12 44:23 45:22
 approach 42:7                 19:1 21:23                25 83:2, 15, 16, 17              46:1 49:21 94:20
 appropriate 75:16            bad 21:17                  board 95:1, 3                    96:10, 15
 approval 29:1                BARROUKH 2:3               bottom 51:17 62:25              calling 26:14
 approximate 28:15             3:5, 7 4:11 25:18          69:17 71:2 73:7                call-no 37:17 39:13
 approximately 37:14           31:8, 15, 18, 20 32:7,     76:22 87:21 90:11               40:7, 12, 21 41:24
 April 102:14                 21, 25 33:7, 10 35:2,      Boulevard 2:7                    43:18 49:22 94:10
 area 41:20                   6 48:19, 21 51:13          box 54:16                       calls 30:10, 12 31:16
 arrival 22:23                 55:16, 18 56:2, 4         boxes 52:12                      39:15
 ARTHUR 2:7 87:19              58:4 69:11 70:1           break 5:24 6:3 35:7,            cars 24:3 83:15
  89:9 91:22                   71:7 72:15, 18, 22        8 38:15 72:16                   CASE 1:1
 asked 42:10 48:4              77:19 79:10 81:11         breaks 6:1 36:7                 cause 4:4
  89:5, 13 90:18 96:1          87:5, 11 89:9, 12         Brickell 2:3                    ceased 50:25
 asking 31:18, 21              90:7 91:22 92:6           BRIDGE 1:7 6:19                 cell 7:24 15:5
  32:22, 23, 25 33:2, 5        93:24 94:4, 17 95:9,       11:1 12:3 18:15, 16,           certain 23:1, 19 65:9,
  36:20, 23 55:15 77:1        18, 20 97:9, 12, 23        24 19:3 20:8 22:20              15 75:22
  95:22                       based 33:2, 15 86:15        23:24 24:2 31:13               CERTIFICATE
 asks 88:3                     89:8 91:4                  32:5 33:25 34:4                 101:1 102:1
 aspect 34:25 49:18           basically 13:14 14:9        35:21 38:3 46:15               certify 100:4 101:7
 ass 79:20                     22:10 37:18                55:6 59:21 60:14                102:6, 9
 asserted 90:10               basis 45:12                 63:10, 18, 25 64:2             chain 26:6, 10
 assign 21:9                  Bates 3:18 51:18            72:3 81:20 84:17, 25           chance 59:11 97:24
 assigned 65:1, 7, 8, 17       79:12                      86:10 90:9 94:8                CHANGE 99:5
 assignment 23:10             beaner 75:19               bridges 18:17 84:5              changes 97:19 100:8
 assigns 65:14                began 10:9 12:4            Bridge's 6:16, 24               charges 31:12 32:1
 attached 100:9                69:4                       30:18                          chart 65:14
 attempt 92:4                 Behalf 1:13 2:2, 6         Brief 35:5 72:17                chat 3:17 74:12, 23
 attempting 92:24             behavior 21:17 62:5         87:4                            80:19
 attention 14:22              behaviors 64:20            bring 29:17 63:20               checked 58:8 86:2, 4
  54:11 63:20 84:16           belief 90:14                79:22 83:7 85:12               chewed 79:21
  85:13 88:2                  believe 10:3, 7 12:5        88:2                           Christofilis 48:17
 attorney 5:20, 21             18:25 33:1 34:14, 23      broadly 89:2                     87:22 90:12
  8:12 9:8, 12 10:12           36:15, 23, 25 43:4        broken 37:7                     C-h-r-i-s-t-o-f-i-l-i-s
  19:10 35:8 49:21             49:25 50:4, 11 54:5,      brother 78:23                    48:20
  79:11 102:11, 12            25 56:7 57:20 61:3,        brought 14:21, 23               claims 40:1
 attorneys 5:18               4 62:2 68:9 70:20           15:17 54:11 84:15              clear 7:18 14:19
 attorney's 69:17              71:21 73:21, 24 75:3,      91:7                            17:1 19:12 33:23
 authorities 97:5             15, 21 77:24 80:21         BROWARD 101:4                    53:12 56:21 65:6, 9
 authority 22:8 29:12          82:14 86:16 88:19,         102:4                           76:21
  36:23, 25 38:2 44:24        22 96:6, 22 97:1           Buck 78:5, 8                    clearly 6:7 89:17
  85:21                       believed 47:18             budget 13:10, 11                client 72:2 73:4
 authorized 102:6             belong 53:1                budgets 11:9, 13                 79:17
 availability 39:12           beneath 21:1 52:15         bunch 51:19                     clients 25:10 34:6
 available 55:4, 8, 10         84:5                      bus 78:24                        53:21 54:1, 15, 21, 25
 avenues 94:14                best 28:18 87:23           bypass 45:1                      55:20 56:22 59:21
 aware 62:10 76:4              90:13                                                      60:5, 6 62:11, 16
  78:4 82:11                  better 78:22               <C>                              76:4 81:4 86:10
                              binding 87:18              Cadden 58:13                    client's 89:22, 25
 <B>                          bit 19:7 35:2              call 15:2 16:6, 8               clients's 55:9, 10
 baby 80:9                                                20:19 26:15 27:13

                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                       Page: 104
        Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 106 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


  56:5, 15 57:7               complaints 11:18           correct 7:19, 20                <D>
 close 12:6                    14:20 15:12 20:13,         10:17 11:14, 15                DANIEL 2:3
 Coates 58:13, 19             21 27:7, 11, 20, 23         12:25 15:9, 10, 13, 14         danielb@dereksmithla
 codes 52:17                   28:2 30:18, 22 33:12,      17:5, 8, 13, 14, 24            w.com 2:4
 coffee 6:2                   16, 20, 24 34:4, 10         20:2 21:2, 3 22:23,            DATE 1:13 18:7
 COLE 2:6 90:10                35:25 40:3 43:24          24 23:2, 3 26:10                 39:4 41:3 69:8, 19,
 colleague 72:2                49:15 60:5 86:8            29:7, 8 34:1, 11, 13           20 100:15
 collecting 12:22              88:5, 10 90:20, 25         35:22, 23 38:25 39:4           dated 52:1, 2, 3
 color 47:24                   92:1 94:11 95:5, 12        48:18 49:24 50:5, 8,            102:14
 come 42:11 96:8              complete 5:11, 13          12, 22 53:3, 4 54:8             day 18:8 20:6 21:7
 comes 29:6 65:3              completed 12:22             55:11, 12 56:23, 24             26:1 30:10 43:1
 command 26:6, 10              17:12 38:25 39:2           57:3, 4, 8, 9 58:2, 10,         93:14 96:6, 23
 comments 75:18               completes 38:20            15, 17 59:4, 7 60:11,            102:14
 Commission 101:17,           completing 31:1 57:6       12 65:8, 19 67:1, 2             days 20:5 39:14
 18 102:21, 22                comptroller 13:12           68:25 69:1 77:25                49:22 85:15 93:10
 Communication 3:18           computer 7:22               81:6, 7 88:17, 18              day-to-day 18:21
  15:2 76:15                  concluded 98:5              89:22, 23 92:13 94:1            21:6 25:25
 companies 89:4               conduct 17:4 63:21          96:12, 13, 17 97:18,           December 61:3
 company 9:23 10:1,            64:2, 19 68:18 75:4,      24 100:5 102:8                  decide 97:21
 9, 23 11:9, 21, 23           7, 10 82:11, 16, 20        correction 50:14                decision 29:5
  12:4 14:3 22:16, 20,         86:20                     corrections 100:7               Declaration 3:18
 22, 25 23:17, 18, 21         conducted 35:20            correctly 48:7                   81:15 83:19
  24:3, 7, 14, 22 25:1,        48:22 65:18 88:4          cost 52:17                      decline 29:13, 16
 16 27:25 28:9 31:4            90:19                     costs 13:13                     defecate 84:5
  32:2 33:13, 17, 21          conference 6:17 7:17       counsel 102:11, 12              Defendant 1:8 2:6
  34:10 35:25 36:3, 6,        confirm 11:12 17:11,       count 19:21                      6:20 88:6 90:21
 10 38:9 39:17, 22            17, 20 71:25 84:21         country 23:18                   definite 28:14
  40:3 44:17 46:7, 10,        confirmation 17:16,        County 41:7, 22                 definitely 30:13
 12, 14 51:1 55:2, 10         23                          101:4 102:4                    denied 42:12, 13
  62:8 63:9 65:2 69:4,        confirming 57:1            couple 50:12 87:1, 3            deny 84:3
 7 70:17 83:15 86:17,          87:19, 22 90:13            91:24 95:18                    department 12:20
 21 87:19 88:25 89:5,         connected 102:12           course 20:17 22:13               15:19 27:14 29:2
 14                           consider 42:5              COURT 1:1 4:2, 25                62:1 75:14 86:25
 company's 28:5               considered 42:2             5:8 6:11, 12 48:19              94:21
  43:23 44:9, 14 46:19        consistent 39:18, 24        63:12 97:12 102:6,             DEPONENT 100:1
  89:2                        consistently 39:24         20                              DEPOSITION 1:13
 compensated 58:14            contact 47:25 48:10        Cousin 12:2, 7                   4:2, 13, 17 6:18 7:13,
 compensation 68:22            49:10 94:24               co-workers 96:21                23 8:1, 7, 13, 21
  85:6                        contacted 96:12, 13        crew 50:19                       10:12, 17, 21 98:5
 complain 44:7, 21            Continue 47:15 72:5        criminal 25:5 56:13              102:7
  45:8, 11 46:13               82:23                      68:14                          DEREK 2:2
 complained 57:11             contribute 29:20           CROSS-                          derogatory 75:21
  85:6 88:15 91:14            control 16:16 18:20        EXAMINATION                     describe 18:14 20:11
 complaint 14:15               25:25 44:16, 19            91:23                           94:13
  15:17 16:9, 23, 24, 25      conversation 45:24         current 7:7 11:4                described 26:4
  17:3 26:13, 25 31:5          60:7 61:5, 11             currently 18:24 53:7            Description 3:10
  35:21 44:2, 20 49:12,       copies 9:14                cut 19:5 76:21                  designation 60:22
 17 85:13, 16 89:19,          copy 9:7 13:6 61:19        cuz 79:21, 24                   despite 53:1
 22 90:1 96:7                 corner 69:18                                               determination 64:25


                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                       Page: 105
        Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 107 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 determinations 25:15         65:20 67:16 68:5           either 29:7 32:17                64:22 83:25 84:16,
 determine 16:14              86:24 89:25 91:13           44:4, 8 53:24 57:7             20 85:18 94:7 96:11
 determined 24:6              discussions 92:20           60:13, 18 75:15                encouraged 26:20
 device 8:3                   dispute 47:10 76:5          96:12                           27:3
 devices 7:21                 disrespectful 7:5          eligible 70:7, 18, 22           engage 92:22
 Dezmond 3:18 58:13           dissuade 29:23             email 48:16 97:13               Enrique 56:7
 81:15, 16 82:1 85:25         distribute 21:10           emergency 8:3                   entail 18:17
 86:3, 9                      DISTRICT 1:1               employ 18:24 19:3               entails 11:17
 different 23:21              dnt 80:9                   employed 28:13                  entered 93:21
 30:10 41:2 50:17, 20         document 51:10, 15          84:24                          entire 96:10
  74:25 94:14                  53:7 56:21 62:21, 25      employee 3:12 8:24              entity 22:22
 difficulties 35:3             63:7 69:12 70:2, 4         9:5, 7, 20, 22 10:1, 5,        environment 64:1
 DIRECT 4:11 37:8              72:20, 23 74:8 76:10,     8, 20 14:15, 19 15:18,          Errata 100:9
 directed 16:17               14 77:20 81:12 87:9,       22 16:2, 7, 11, 14, 18          Esequiel 56:7 59:14,
 directly 94:20, 21           13 90:11, 12 97:8           17:3 20:14, 18 21:15,          17 60:1, 23 61:2
 disciplinary 21:15           documentation 50:16        22 22:6 24:7, 21                 66:8, 10, 14, 18, 20
  64:21                        92:16, 22                  25:3, 8 26:4, 12, 13,           79:17
 discipline 21:21 22:4,       documented 58:7            16, 17 27:13 29:1, 17,          ESQ 2:3, 7
 10 65:1, 6, 10, 14, 17       documents 7:21 8:1,        21 34:1, 5, 21 35:10,           essential 64:3
 disciplining 67:25           20, 23 9:2 10:19           13, 16 37:2, 5, 11              estimate 28:18
 disclosed 68:20               51:20 55:13 66:1           38:11, 22 39:3, 10             ethnicity 41:25
 discover 56:15 89:8           87:20                      46:10, 21 47:1 52:13,          events 19:6
 discrepancies 42:8           doing 37:15 68:9           14 54:16 63:8, 16               E-verified 29:4
 69:2 92:14                   dozens 67:21                65:13 68:21 70:17,             exact 41:3
 discrepancy 50:10            drafted 70:13              18, 19 72:11 82:2               exactly 5:24 6:23
 93:1                         Drive 2:3 7:10              93:13, 23 94:19, 25             56:10 66:23 71:20,
 discriminated 45:17           23:19 24:12, 21, 25        102:11                         25
 50:16, 21 83:2                25:8, 16 83:15            employees 11:10, 14,            EXAMINATION 3:2
 discriminating 45:3          driver's 24:11 25:4,       19 12:16, 18 13:18,              4:11 95:20
 discrimination 26:6          5 101:9                    21, 22 14:7, 8 15:4             examined 4:8
 31:12 32:1 33:25             driving 24:13 25:12         17:10, 17 18:22, 23            example 64:15
 34:23, 25 35:11 40:2         drugs 62:8                  19:2 20:13, 23 21:5,           examples 14:14
  43:24 44:3, 7, 10           due 94:9                   10 23:7 24:13 25:2,             Excel 12:19, 23 13:8
  45:2, 12 48:24 49:12,       DUI 25:5                   16, 22 26:2, 24 27:3            exchange 74:3
 17 50:10 88:5, 11, 15        duly 4:8 101:9              28:10, 11, 21 36:2, 14         exchanged 9:11 73:3
  89:22 90:1, 20 91:1,        duration 55:9 96:11         38:3, 6 39:19, 24               79:16
 6, 9, 15                     duties 11:7                 40:6 43:21, 22 44:2,           Excuse 88:1 89:19
 discuss 10:16 13:17          duty 80:21 89:5            6, 20 45:1 46:4, 25             Exhibit 3:10, 11, 12,
  14:10 15:22 27:12                                       47:6, 8 49:16 50:18            13, 14, 15, 16, 17, 18
  42:11, 24 44:22             <E>                         53:1, 2, 6 57:10                51:9, 12 62:20, 22
  45:23 46:22 48:4, 5         eat 83:16                   62:16 64:1, 4 66:5              69:9, 10, 24, 25 71:6,
  50:9 51:11 65:21            EEO 15:20, 23 16:3,         77:14 80:22 81:23              9 72:20, 21 74:7, 9
  67:17, 20 68:2 92:25        4, 5 20:19 26:15            83:2, 15, 16, 17 85:3,          76:9, 11 77:17, 18
 discussed 26:12               27:14 30:24 32:12         22 86:9 94:12, 13                79:8, 9 81:9, 10 87:8,
  38:12 49:18, 19 60:7         33:18 44:23 45:22          95:13                          10 90:5, 6
  67:25 68:23 75:13            46:23 48:1 94:20          employee's 52:7, 9              EXHIBITS 3:9 97:14
  82:12 96:8                   95:2                      employees's 66:10, 15           exit 43:15
 discussing 54:5 65:22        EEOC 31:12 32:2, 5         employment 10:9                 Expires 101:17
 discussion 33:9 37:4,        effectively 39:3            29:6 39:10 42:3, 8              102:21
 6 38:13 49:11 56:3           eight 11:2 40:13            51:1 55:1, 9, 10 61:6

                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                       Page: 106
        Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 108 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 explain 15:15 24:9           FLORIDA 1:1 2:4,           forging 66:15, 19               give 5:1, 13 18:6
  26:9 68:17 89:18            8 4:4 6:25 7:2, 11          68:21                           23:1 24:2 28:14
  90:8 92:3 93:11              12:10, 13 23:13 41:2,     form 3:13, 14 22:5               43:4, 15 87:1 89:10
 explanation 13:3             7, 21 101:3, 6, 16          25:17 31:7, 14 32:6,            97:7
 extend 29:5                   102:3, 21                 16, 20 34:7, 12 38:19,          given 4:16 43:11, 13
 extent 83:10                 fly 23:24                  20, 23, 25 39:2 42:21            46:20 100:6
                              flying 24:4                 48:25 50:3, 7 55:24            gives 28:25
 <F>                          focus 51:24                 57:6 58:3, 16 60:8             giving 19:8 29:23
 fact 17:21 57:5              follow 86:21                62:13 65:11 66:12              go 4:19, 20 5:3
 failing 66:25                followed 86:17              67:6, 12, 22 69:15, 21          14:20 17:10 19:18
 failure 66:22 85:16          following 49:17             70:5, 11, 13, 15, 22            33:7 38:7 48:5
 fair 12:6, 24 17:23           62:11, 16                  71:3 75:5, 12, 23               49:20 51:8 59:12
  28:20, 23 30:15, 16         follows 4:9                 76:1 77:11 79:5                 76:8 78:18 81:3
  31:23, 24 39:7 91:9         follow-up 91:24             80:5, 16, 17 82:17              87:2 92:9 95:22
 falsely 68:21                food 6:1                    84:10 86:18, 23                 96:2
 falsification 64:16          FORD 1:4 3:14               88:16, 21 90:2 91:16           goal 4:21, 22 19:11
 familiarity 96:17, 18         17:6 40:24 42:3, 6         92:6 93:21, 24 94:4,           goes 14:25 23:6
 familiarize 64:4              43:10, 15 45:8, 11        17 95:9 96:25 100:8              26:1
 families 79:23                47:9 57:22 58:12          formal 38:10                    going 4:19 5:24
 family 10:14, 17              69:6, 20 70:21 78:7       formality 93:22                  17:7 42:17 48:9
 far 9:9 23:12                 81:19 83:3 88:14          forman 17:22                     51:8, 18 61:17 64:7
 feedback 43:17, 18            92:2, 21 94:2 95:6        format 12:19                     69:23 71:15 72:19
 feel 89:11 91:22              96:15                     former 72:2                      76:8 79:7 81:8 87:7
  95:7                        Ford's 50:25 69:3          forth 83:7                       93:15 97:13
 felt 97:3                     70:5 78:4 96:11, 20       found 92:5                      Good 4:12 9:25
 Fidencio 58:12               foregoing 100:4            founded 12:4                    government 18:19
  59:25 77:24 79:17            102:8                     four 40:8, 14                    95:2
  80:7                        foreman 17:11 21:2,        fraudulent 47:16                grammatical 97:18
 Fidencio's 80:20             4, 5, 9, 14, 17, 20, 25    free 89:11 91:22                ground 4:20, 24 5:7
 field 11:10 12:16             22:9, 14, 15 24:10, 14    frequently 30:2, 5              GROUP 2:2 3:17
  13:7 19:15                   25:2, 8, 15, 21, 23        44:14                           74:12, 23 75:22
 file 44:2 77:4 83:6           26:4, 18, 21 27:6         Friday 8:17                      79:16 80:19
 filed 31:12 32:1, 4           29:19, 21, 23 30:3        front 6:13 57:11                guess 20:25 21:12
  35:24 70:14                  50:1 52:18, 19 56:11,     full 6:12                        22:8 68:15
 filing 43:23                 18 57:2, 8 58:8, 11        further 12:22 49:10
 fill 12:17 13:6               59:10 60:2 65:5            83:1 91:18 97:9                <H>
 filled 38:18                  73:24, 25 77:13            102:9                          half 37:21
 final 28:25 29:1, 5           80:20 82:20 92:9                                          hallway 75:19
 finally 5:16                  94:15                     <G>                             hand 52:8
 financially 102:12           foreman/employees          generally 18:14                 handbook 3:12 8:24
 fine 4:15 7:25                28:22                     generate 89:7                    9:5, 7, 16, 20, 23 10:5,
 fired 56:20                  foreman's 17:16            geographically 23:12            8, 20 16:7 20:18
 first 4:24 9:19               82:15                     GEORGE 1:13 3:4                  26:12, 16 36:6 46:21
  14:21 15:1 23:4             foremen 12:16 65:18         4:7, 13, 15, 16 31:21           47:1 63:4, 8, 17
  52:1 53:19 64:15            forged 56:16 57:7,          32:25 33:2, 11 55:16            65:13 94:19, 25
  80:7 87:7 90:17             16 58:14, 21, 25 59:4       56:5 72:19 87:2                handbooks 10:1
 five 55:1 85:4, 15            61:7 66:2, 4, 10           91:24 97:15 101:7              handle 27:7, 20, 23
  86:13                        67:21                      102:7                           28:1, 2 75:14
 five-minute 72:16            forgery 56:13 65:22        getting 45:16                   handled 49:16
                               67:1, 4, 8, 10, 15, 18                                    handles 33:16, 20

                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                       Page: 107
        Case 3:24-cv-00404-MCR-ZCB            Document 21-4         Filed 06/05/25        Page 109 of 124
Deposition of George Pappas                               Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 handling 15:12               22:6 79:23                   89:4                            88:3 89:18 90:18
 20:12 27:11 33:12            Hopefully 4:20, 22          inclusive 89:14                 interview 43:16
 happened 8:11 19:6           hotel 22:12, 16             incorrect 43:6 50:13            investigate 89:6
  68:5                        hour 43:4 47:10              57:12 58:20 88:19              investigated 91:13
 happening 47:19              60:5 76:5 93:9               89:16 91:8                     investigating 30:18
  61:17 67:4, 11, 15          hours 8:19 17:12, 17,       incorrectly 50:1                investigation 48:23
 happens 30:9                 21 21:22 22:10               53:14                           89:24
 harassment 26:7               45:17 47:12 49:20,         independently 22:22             investigations 30:22
  34:5 35:14 40:2             25 50:6, 13, 17, 18, 20,    INDEX 3:1                        31:1 35:20 88:4
  44:7, 10 45:5 88:6,         22 56:22 57:1, 12, 23       indicates 63:4                   90:19
 11 90:21 91:1, 7              58:9, 15, 19 59:3, 6,      individual 13:18                involved 45:3
 Harbor 6:25 7:2              15 76:22 77:2, 5, 10,        15:4 29:6, 10, 13, 17,         Isaac 73:5, 10, 13, 16,
  12:13                       14 78:17, 18 79:21          24, 25 36:7, 9 38:2             19 77:1, 3, 9, 23
 hard 57:20                    84:21 85:7, 8 88:16         39:6 40:20 41:1, 23             78:14 79:20 80:19,
 HAWKINS 1:4 3:18              92:2, 13, 14, 16, 25        44:5 48:11 53:25               21, 24
  42:6 43:10, 15 45:8,         93:19 95:13, 23 96:2        93:13                          Isaac's 73:7 75:18
 11 47:10 50:25               hr 11:20, 24 12:20,         individuals 23:9, 17,           issuance 24:6
  53:13 58:12 71:22           24 13:9 15:19, 22           19, 25 24:3 37:19, 23           issue 14:9, 15, 21
  73:4 74:12 76:16             16:3, 4, 5, 11, 15          38:8 39:22, 23 42:9             16:21, 23 20:15
 77:23 78:23 79:2, 18          20:19 26:15 27:14           56:25 57:6 58:11, 24            21:14, 21 22:4 34:21
  81:19 83:3 84:3, 4           29:2 30:24 31:6             59:3 60:13 74:13                53:5 54:11 90:16
  88:15 91:13, 14 92:1,        32:12 33:18 39:5            75:22                           92:4, 10 94:15
 21 94:2 95:6 96:16,           44:23 45:22 46:23          individual's 56:13              issued 37:10 60:10
 20                            47:25 48:2, 3, 12          individuals's 57:16             issues 11:18 14:20
 Hawkins's 42:3 90:9           49:10, 14 55:19 62:1       inform 49:15 58:19,              15:12 25:4, 5 42:8,
 head 5:3                      65:20 67:17, 20, 24        20, 24                          12 45:21 47:16 48:4
 healthy 63:25 64:3            68:17, 20, 24 75:13        Informal 33:9 56:3              its 23:1 83:2 89:14,
 hear 5:18 50:13               86:25 89:7, 15, 21, 25     informally 39:7                 15
  73:10, 13                    91:13 94:20 97:5           information 19:12
 heard 71:19 86:8             HR's 16:18                   29:24 32:15, 19 33:1           <J>
 held 33:9 56:3 64:6          hundred 28:16                49:8 89:3, 14 94:24            January 63:15
 help 14:12 16:18                                         informed 27:18                  Jeff 41:18
  19:10 20:7 76:8             <I>                          94:13                          job 11:7 18:10 21:6
 helpful 18:7                 identification 51:12        informing 91:14                  25:22 36:12 39:16
 HH-375658 101:18              62:22 69:10, 25 71:6       initial 49:11 69:3               80:8, 12 82:15 83:17
  102:22                       72:21 74:9 76:11           input 17:13 54:8                 94:9 95:1
 hierarchy 21:1 26:3           77:18 79:9 81:10           inputting 12:22                 jobs 93:18
 hire 23:17 28:10, 11          87:10 90:6 101:10          inquiries 88:4 90:19            JONES 2:7 3:6, 18
  29:1, 10, 13, 16, 22        identify 88:4 90:19         inspectors 18:20                 5:17 6:10 25:17
 hired 23:22 24:12            importance 54:4, 7          Insubordination                  31:7, 14, 16 32:6, 16,
  46:20                       important 5:7 93:12          37:18                          20, 23 33:3 34:7, 12
 hires 23:21 46:10            improperly 92:18            insurance 25:9, 11               42:21 48:25 50:3, 7
 hiring 28:5, 8 29:20,        inappropriate 95:7          interested 83:10                 55:15, 24 58:3, 13, 16,
 24 46:4 69:3                 inaudible 5:2                102:12                         18 60:8 62:2, 13
 Hispanic 75:22               include 11:18 15:12         interesting 51:3                 65:11 66:12 67:6, 12,
 hoe 78:21 79:3               included 28:5                52:25                          22 70:15 71:3 75:5,
 hold 18:2                    includes 89:3               Interrogatories 3:18            12, 23 76:1 77:11
 Holiday 7:10 12:9            including 64:22              90:17                           79:5 80:5, 17 81:15,
 home 7:8 21:22, 25            74:24 79:17 83:2           interrogatory 87:16             16, 18, 24 82:1, 3, 5,
                                                                                          17 83:1, 6, 9, 14 84:2,

                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                       Page: 108
        Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 110 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 10, 19, 24 85:5, 15, 25      81:12, 16 82:1, 2          lodging 22:12, 15, 16,          means 5:2 51:20
  86:3, 9, 18, 23 87:19       84:24 85:2, 21 86:6        22 23:22                        57:22 75:19, 24
  88:21 90:2 91:16, 20,       87:8 89:1 90:3             long 5:11, 24 8:18              79:24 80:10 97:16
 23 95:16 96:25               91:13 93:5, 14 94:13        9:15 10:25 11:3                meet 8:12 16:5
  97:11, 15 98:1              knowing 49:8                24:23 84:24 93:8               18:19 42:11, 13, 23
 Jones's 51:20 63:5           knowingly 57:7             longer 4:21                     43:2, 7 48:7 49:19
  82:9, 12 83:18 86:15        knowledge 31:5, 10         look 8:1, 3 14:13                59:13 82:3 92:8, 25
 judge 6:13                   32:14, 19 33:5, 11, 15,     43:3 45:20 48:15                95:22 96:1, 8, 23
 July 70:7                    19, 23 34:3, 8, 9           50:24 51:10 61:17              meeting 8:15, 18
 jump 89:10                    35:10, 13, 16, 19          69:14 86:4                      9:18 16:4 30:9
 June 52:1, 2, 3 59:7          39:18 44:13 46:18,        looked 66:3                      42:19 78:17
                              25 47:4, 5 50:15           looking 7:4 92:12               member 61:10 93:12
 <K>                           62:15 66:1, 9 67:18        93:9 97:7                      members 20:13 22:1,
 Keam 48:13, 17, 22            81:5 87:23, 25 89:3,      looks 18:15 53:11               9 23:1
  49:15 87:21 88:24           24 90:3, 14 91:17           57:20 78:16                    men 78:19
  90:12                        96:18                     loss 13:13                      mentioned 22:15
 K-e-a-m 48:20                known 86:20                Lucas 11:22, 25 12:7,           message 45:25 72:6,
 keep 4:21                    knows 31:19                9, 12 33:1                      8 73:3, 7 76:25
 keeping 64:16                                           lunch 5:25 83:16                 77:23 78:10 79:16
 keeps 61:17                  <L>                                                         80:4
 kept 97:3, 5                 Labor 95:3                 <M>                             messaged 62:11
 Key 2:3                      lack 36:11                 man 93:19                       messages 3:15, 16, 18
 kind 20:22 26:14             laid 94:9                  manage 20:8, 10                  9:1, 6, 9, 11, 14 46:2
  50:14 92:2 93:11, 22        language 95:7              manager 10:24 11:4,              72:25 74:25 75:16
  94:12                       Large 4:4                  7, 17 18:1, 3 19:14,            met 95:21
 KISSANE 2:6 90:10            larger 64:11               16, 19, 22 20:1, 4, 17,         Miami 2:4
 knew 66:14 67:4, 10,         LAW 2:2                    21 26:5 27:16 30:8              Michele 4:2 101:6,
 15                           lawsuit 6:20 83:7, 10       37:25 38:21                    15 102:6, 20
 know 5:24 6:1 12:3           lawyer 42:17 48:10         managers 89:6                   midday 43:5
  13:2, 22 19:6 20:18         lay 36:12                  March 1:13 101:9,               middle 6:3
  23:15 25:10, 14             leads 30:21                12                              Minimal 30:4 86:13
  27:25 29:22 30:17,          learning 27:19             mark 51:9 62:19                 minute 35:4
 21 31:11, 17, 22, 25         leave 39:15                 69:9, 24 70:17 72:20           minutes 9:17 58:1
  32:4, 9, 10, 11, 24         leaves 33:2                 74:6 76:9 79:8 90:4             87:1
  33:4 38:6, 16 40:6,         left 63:1                  marked 51:12 62:22              misconduct 64:15, 21
 11 41:4, 8, 14 43:16,        left-hand 52:8 69:17        69:10, 25 70:21 71:6,           65:1, 7, 10, 15, 18
 22 44:1, 5, 9 46:6, 15,      letters 51:19              8 72:21 74:9 76:11              missing 93:19 95:13
 24 47:3 48:22 49:3,          letting 93:5                77:18 79:9 81:10               mistakes 97:18, 24
 4, 6, 14 50:15 51:14         license 24:11 25:4, 5       87:10 90:6                     mm-hmm 5:3 63:3
  52:16 54:19, 24 55:3,       license/I.D 101:10         marker 51:18 63:1               moment 33:8 74:16
 22 56:5 57:10, 15            LINE 99:5                  marking 77:16 81:8               97:7
  59:6, 14, 17, 20 60:4,      list 57:12, 24              87:7                           moments 50:12
 6, 16, 21, 25 62:1, 3,       listed 59:7                material 13:14                  money 79:24 83:11
 20, 24 63:7, 11 64:9,        little 19:7 35:2           matter 93:22 94:3               month 18:7
 13 70:2, 4, 13, 21, 24        60:25 63:1                mean 6:20 7:5                   months 61:4 86:14
  71:18 72:10, 12, 23         live 12:9, 12               15:15 16:23 24:17              morning 4:12
  74:7, 17, 19 75:19, 24,     LLC 1:7 63:25 64:3          34:16, 19 41:5 49:3            motel 22:17
 25 76:6, 10, 18, 21           81:20                      67:3                           move 20:16 24:18
  77:4, 12, 20 78:22          location 40:19             Meaning 5:10 57:24              Muckle 41:18
  79:2, 3, 20 80:3, 10                                    87:19

                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                       Page: 109
        Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 111 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 multiple 11:8 39:14          24:21                      occasion 84:2                    52:6, 15, 19, 24 53:10,
 49:22 93:10, 16 97:6         North 2:7                  occasions 85:7                  12, 18 54:10 56:1, 9
                              NORTHERN 1:1               occur 40:16 45:24                57:15, 22 60:1, 4, 21
 <N>                          Notary 4:3 101:6, 16       occurred 40:11 81:5              61:5, 19, 22, 25 62:10
 Name 3:3 41:2, 3, 17         102:21                      82:14                           63:9, 13, 20, 24 64:14,
 48:14 53:14 56:13            note 25:7                  occurring 53:10                 19 65:6, 21 66:9
 named 17:18                  noted 100:8                 67:4 82:21                      67:14, 17 68:9 69:2,
 names 37:22 40:9             notepad 7:24               offense 37:5 38:14              16, 23 70:4, 24 71:1,
 52:7 53:6, 7 54:1, 7         notes 7:5 52:16             56:13                          5, 13, 15, 21, 22, 23
 57:12, 16                    102:9                      offer 29:6                       72:3, 4, 7, 12, 15 73:1,
 Narcissus 7:10               notice 21:15 51:3, 6       office 6:16, 24 7:12,           6 74:3, 6, 14, 15, 17,
 nature 68:21 89:19           70:18 85:24 86:3           15 15:2, 7, 8, 20               18 75:15, 25 76:8, 17,
 necessarily 39:8              93:4                       19:15 51:21 55:14,             20, 24 77:3, 16, 22
 necessary 4:22 23:25         noticed 52:24 67:16        23 63:5 69:17 79:12              78:8, 9, 12, 13 79:18,
 24:1, 11, 17, 23, 24         noticing 53:5               94:20, 21, 23                  19 80:19 81:3, 8, 18
 need 5:13, 23, 25 6:2        notified 39:6 70:6         officer 15:22, 23                82:8, 10, 25 84:14
 14:10 16:12, 15               97:4, 5                    16:3, 4, 5, 15 20:19            85:5 86:2, 5, 7 87:1
 24:18 80:8, 9, 11            notifies 39:22              26:15 27:14 30:24               88:3 89:15, 17 90:4
 86:5 87:9 93:17              notify 27:13 39:10,         33:18 45:22 46:23               91:12 97:21 98:3
 97:18, 21                    15, 16 93:23                48:1 95:3                      onboarding 46:3, 5, 6,
 needed 22:12 60:23           November 42:25             officials 18:20                 9, 16, 19, 21
  93:20                        61:2 69:19                okay 5:19, 23 6:9, 18,          once 5:9 23:22 29:4
 needing 53:2                 number 15:5, 6, 7          23 7:5 8:2, 4, 9, 12,            30:14 38:25 39:2
 needs 21:6 38:17              16:6 23:7 54:19           18, 20 9:5, 9, 13, 19            96:6
 Never 16:19, 21, 22,          72:1, 12 79:12 84:19,      10:7, 11, 14, 16, 25           ones 57:19
 23, 24, 25 17:1, 3           21 85:5, 7, 8 88:3          11:6 12:9 13:1, 10,            on-site 19:25 20:5
  53:21 55:22 68:20            89:18                     16 14:13, 24 15:4, 8,            92:8
  84:20 88:9 90:24            numbers 51:19              11, 21 16:1, 10, 14, 17,        operate 77:5
  91:7 96:11, 23                                         20, 22 17:1, 7, 20, 25          operations 18:21
 new 46:10                    <O>                         18:5, 9, 13, 23 19:1,          option 43:11, 13
 NICHOLAS 1:4                 O-301 2:3                  12, 13, 18, 21 20:3, 7,         order 13:13
  3:14 17:6 19:1              OATH 101:1                 11, 20, 25 21:9, 12             ordering 97:13
  25:11 58:12 94:2            Object 31:7, 14 32:6,       22:3, 8, 14, 25 23:9,          OSHA 95:2
  95:21 96:1                  16 34:7, 12 42:21          12, 17, 24 24:9, 13, 16,        outside 7:22 10:20
 Nick 40:24 48:23              50:3, 7 55:24 58:3        20, 25 25:10, 14, 21             17:22 25:22 32:11
  59:12, 15 62:3, 7            62:13 65:11 66:12          26:3, 9 27:15, 17, 22,         owed 85:17
  70:5                         67:6, 22 69:21 70:15      25 28:8, 20, 25 29:3,           owner 11:20, 21
 nickname 59:18, 21            71:3 75:5, 12, 23         5, 12, 16, 23 30:2, 5, 8,        32:13, 14, 18, 24 33:4
  71:19, 21 74:20 78:4,        77:11 80:5, 17 86:18      13, 17, 21, 25 31:3, 11,        owner's 33:5
 8                             88:21 91:16               18, 23, 25 32:4, 11, 18         ownership 11:23
 Nick's 49:11                 objecting 34:14             33:15, 19, 23 34:3, 14,
 night 43:8 96:23             objection 31:15            23 35:10 36:9, 18, 20           <P>
 nighttime 43:5                32:20, 21 48:25            37:1, 10, 13, 15, 19, 22       p.m 43:8 57:25 98:6
 nine 28:21 82:8, 12           58:16 60:8 76:1            38:10, 20, 22, 25 39:6,        Page 3:3, 10 63:21
 non-black 73:25               79:5 82:17 84:10          9, 17 40:1, 9, 19 41:4,         71:2 73:8 87:21
 non-EEO 28:1                  86:23 90:2 92:6           14, 20, 23 43:6, 10, 20         99:5
 non-foreman 24:21             93:24 94:4, 17 95:9        44:13, 16, 19 45:19            pages 51:23 100:4
 non-HR 28:1                   96:25                      46:9, 18, 24 47:7, 13          102:8
 non-superintendent           observed 64:2               48:8, 11, 14 49:5, 8, 9,
                                                         10, 14, 24 51:11, 17

                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                       Page: 110
        Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 112 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 paid 47:11 48:7              Plaintiff 1:13 88:6, 9      88:14                          question 5:12 6:4
 49:20 54:9 85:7              90:24                      Printout 3:17                   39:20 41:11, 12 42:4
  88:16 92:18, 19             Plaintiffs 1:5 2:2         prior 18:2 22:23                 51:11 67:7 89:5, 13
 Palm 6:25 7:2 12:13          83:11                       38:8, 16 46:25 94:11           questions 5:1, 3, 11
 paper 13:6                   Plaintiff's 51:9, 18        96:10                           26:23 64:10 76:19
 paperwork 38:17              62:20 69:24 71:9           problem 54:14 74:22              87:17 90:9 91:18, 20,
 PAPPAS 1:13 3:4              72:20 74:7 76:9            problems 78:18                  25 95:17, 19 97:10,
  4:7, 14 11:22 12:1          77:17 79:8, 12 81:9        procedure 37:1                  11 100:6
  35:7 55:17 101:7            87:8 90:5 91:9              38:10 44:20 46:16              quick 13:3 35:7
  102:7                       play 36:2                  procedures 43:21                 95:18
 paragraph 64:8 82:8,         please 12:15 13:11,        process 29:20 43:23             quicker 4:20
 12                           17 14:2, 7 15:15            44:20 46:10, 16, 19            quickly 4:23
 paragraphs 84:12              23:14 26:9 33:8, 15        75:11 92:3                     Quite 54:17
 participant 61:10             35:4 37:2 54:6 56:2       produced 51:20
 parties 102:11, 12            67:7 71:12 72:6, 25        55:13 69:16 79:11              <R>
 Partly 91:6                   78:10 82:8, 23 84:12       101:9                          R&B 94:22
 party 83:10                   89:11, 18                 producing 87:20                 race 45:13 48:23
 pay 22:22 85:16              PLLC 2:2                   productive 64:3                  49:12, 17 88:15
 paycheck 79:22               PM 1:16                    profit 13:12                     91:14
 payment 22:16                point 5:23 9:25            project 10:24 11:4, 7,          racial 73:10
 payroll 11:9, 13              15:21 16:10, 12           16 13:20 17:25 18:2,            racist 95:7
  12:14, 20 13:1, 3, 5, 9      47:25 75:3 85:12          11, 13, 15, 16, 17              random 30:10, 12
  14:17 17:8 45:23             92:22 96:14                19:14, 16, 18, 19, 22           96:23
  54:8                        policies 36:7 39:17         20:1, 4, 17, 21 23:6,          range 23:9
 people 22:12 74:24            43:20 44:9, 14 46:12,     10, 23, 25 26:5 27:16           rarely 19:20
  76:23 77:6, 10 78:1         22 83:22 95:2               30:8 37:25 38:21               reach 15:6 94:14
  79:16, 18 97:23             policy 14:25 28:1          projects 11:8, 12               reached 58:18, 23
 percent 19:9 78:16           30:18 36:6, 10, 22          13:19 18:14 23:13               59:2 92:20
 perform 17:10                37:7, 9 38:15 44:17        proper 58:15                    read 64:7, 8, 12, 13
 performance 21:18            70:17 86:17, 21            properly 54:9 86:17              71:15, 16 72:5, 25
 performed 58:15              Pollo 59:18, 22             88:16                           74:16 76:18 78:10
 performing 12:4              77:24 79:21                proposed 29:13                   82:8 84:12 97:16, 17,
 person 35:1 82:3             poor 21:18                 propounded 100:7                23 100:4
  95:22 96:1                  porta 83:17                protection 43:21                reading 78:11 82:23
 personal 15:5 96:16          position 11:4 18:2         provide 14:14 51:10             ready 64:10 76:19
 personally 58:23              24:8 31:17 32:9            60:21 87:17 92:22              reall 80:10
  59:2 60:22 67:21            possibility 26:14           93:4                           really 57:25
  101:7                       possible 39:12 58:6        Public 4:3 101:6, 16            reason 36:16, 21
 pertain 88:24                potential 61:7              102:21                          60:16, 22
 phone 7:24 8:4               potentially 96:15          punished 35:11, 14,             reasons 37:15 96:22
  15:5 30:10, 12 39:14        potties 83:17              17 66:18, 22, 23                recall 8:10, 23 10:4,
  43:3 45:25 46:1             practices 28:6             purpose 25:12                   6 37:22 40:19 41:18,
  72:1, 12 82:6 95:25         prefer 49:5                purposes 7:25 79:25             23 42:23 43:1 48:11
  96:5, 10, 15                preparation 8:21           put 12:19 13:8                   69:2, 6, 8 81:24 82:7
 physical 96:21 97:4          prepare 8:6, 9, 13          23:22 25:9 57:23                85:1
 Pinellas 41:7, 22            present 90:17               92:17                          receipts 13:13
 P-i-n-e-l-l-a-s 41:22        preside 47:8                                               receive 20:21 39:14
 PLACE 1:16 8:16              preventing 6:6             <Q>                              82:19 95:5, 12
 placed 25:11                 previously 54:5                                            received 94:12


                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                       Page: 111
        Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 113 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 recess 35:5 72:17             46:5 67:7                 Responsibility 20:14            role 10:23 25:23
  87:4                        replies 80:7                79:23 82:15                     28:8 29:19 36:2, 5
 recommend 68:24              report 11:19 26:17,        responsible 12:21                46:3
 record 25:7 33:8, 9          20, 25 27:3 35:21           22:14, 15, 19 33:12,           roles 25:21
  35:3 55:16 56:2, 3           44:21 46:12 62:7          16 44:1, 6 56:25                room 6:12, 17 7:17,
  63:12 77:4, 13 97:25         67:1 75:7 77:2             57:6                           19
  102:8                        80:21 82:15, 19           rest 64:7, 8 93:18, 20          Roughly 9:17 18:1
 records 53:21 55:5            89:21 102:7               restate 54:6                     28:21
  64:16                       reported 21:17 50:1        restroom 6:2 84:4               Ruiz 3:18 56:7, 8
 recover 83:11                 62:3 75:4, 10 76:4, 6     result 61:7 64:21                57:22 59:14 60:1, 11,
 red 51:18                     80:24 83:24 88:6          resulted 68:22                  18 61:6 62:4, 10
 REDIRECT 95:20                90:21                     results 65:10                    65:23 67:20 68:11,
 refer 6:19 15:22             Reporter 4:3, 25 5:8       retain 42:17                    24 73:5 74:13, 24
  16:11                        6:11, 12 48:19 63:13      retaliate 34:21                  76:5, 15 77:23, 24
 reference 11:9                97:12 102:1, 6, 20        retaliation 26:7                 79:17 80:3 83:14
 referring 79:2, 4            reporting 26:10 45:2        34:10, 15, 17, 19, 20           84:3, 4 85:6, 12, 16,
  80:3                         88:10 90:25 91:9           35:17 40:2 44:7, 10            17, 21 86:12, 16
 refers 46:9                   93:1                       45:6                           Ruiz's 67:18 75:4
 reflects 56:22 76:15         reports 15:13 20:13        review 8:20 9:15                 86:20
  89:2                         26:6 33:24 48:23           102:7                          rule 4:24 5:7
 refresh 10:3                 represent 71:24 73:2       reviewed 8:23 9:3,              rules 4:20 64:1, 5
 regarding 17:4                74:11 77:22 78:7          20 10:5                         run 13:14 21:5
  49:11 61:6 62:4              79:15 81:14 87:15         reviewing 66:21, 24,            Ryan 3:13 13:25
  88:10 89:25 90:25           representative 28:2        25                               14:1 56:8 58:7
  92:1, 2 94:11 95:6,          32:12 48:1                revised 10:8                     59:14, 16 60:24 61:3
 13                           represented 72:1           Reyes 58:12, 19                  69:15 70:25 74:13,
 regards 13:1, 10             request 16:3, 8             59:25 62:11 77:24              24 76:6 77:2 78:16
  32:5 39:18 43:20            requested 42:11, 23        right 4:12, 16, 19               81:1 86:1
  44:2 46:12 68:6              43:2, 7 102:8              5:14 7:1, 4, 7, 12, 15
  69:3, 20 75:18 91:12        require 23:18               8:6, 15, 25 9:2, 22            <S>
 regular 24:20                required 30:22 85:3         10:4 11:3, 11 12:21            safe 63:25
 regularly 19:14              requirements 46:13          14:1, 19 21:20 26:23           safety 46:13
  24:23 86:12                  95:2                       33:11 43:1 51:17               saw 84:3 96:20
 rehire 70:8, 19, 22          requires 5:16               52:8 63:11 74:19               saying 43:7 50:21
 reject 42:19                 resign 60:19 61:1           76:21 79:7 82:23                77:2 78:14
 relation 10:20               resigned 60:20, 25          87:1, 12, 15, 18 90:16         says 46:22 64:20
 relationship 11:25            61:2                       91:24 95:16 97:9, 15            77:3 79:3 81:18
  96:16                       resolve 14:18 42:12        rights 43:22                    SBR 38:11
 relative 102:9, 11           resolved 14:11, 17         Roach 73:3 74:19                scan 13:7
 relevant 41:10                20:16 92:10               ROAD 1:7 6:16, 19,              scared 96:24
 remedy 92:4, 8               respect 27:11              23 11:1 12:3 18:15,             schedule 13:20, 22
 remember 19:7, 8             respond 89:17              24 19:3 22:20 23:24              21:23
  25:13 40:15 41:1, 3,        responded 45:20             24:2 30:17 31:13               scheduling 11:9, 13
 13 43:9 46:2 58:22           responding 5:2              32:5 33:25 34:4                 13:16, 18
  66:13, 17                   response 45:19              35:21 38:3 46:15               SCOTT 2:6 90:10
 REMOTE 1:13                   67:24 87:18 88:3, 5        55:5 59:21 60:14, 24           screen 63:12
 repair 18:16, 17 20:7         89:2, 7 90:20, 24          63:10, 17, 24 64:2             scroll 52:7 74:17, 18
 repairs 18:18, 19, 21        responses 87:20             72:2 81:20 84:16, 25           scrolling 72:5
 rephrase 39:20 42:4          responsibilities 11:7       86:10 90:9 94:8                season 41:9
                               15:12 18:10 20:12                                         second 5:7 52:2

                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                       Page: 112
        Case 3:24-cv-00404-MCR-ZCB            Document 21-4         Filed 06/05/25        Page 114 of 124
Deposition of George Pappas                               Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 see 13:13 51:14, 16          14 55:1, 4, 8, 19 56:6,     Six 11:5 18:1 19:24             SRB 3:12 6:19 18:2
  52:4, 10 53:10, 14, 16      16 58:21, 25 59:4            31:4 79:16 86:14                28:13 29:1 31:6
  57:20 62:20, 23 63:1,        61:8 65:22 66:11, 16,      skin 47:24                       35:11, 14, 17 39:9
 11, 22 64:17, 23             19, 21, 23, 24, 25          slur 75:21                       43:15, 21 44:6 46:25
  69:12 70:2, 3, 9             67:15, 18, 21 68:22        slurs 73:10                      62:12, 16, 17 69:21
  71:10, 13 72:23, 24          85:2 92:9 95:14            small 37:5 71:12                 77:14 78:5 83:1, 25
  73:7 74:7, 10 75:1          shit 78:21 79:3              74:10                           84:20 85:7, 17 86:17,
  76:10 77:7, 20, 21          show 8:2 10:19              SMITH 2:2                       21 88:3 90:18
  78:2, 21, 25 79:13           37:17 39:13 40:7, 12,      snitches 78:19                  SRB's 83:22
  80:1, 13 81:12, 13, 18,     21 41:24 43:18 50:9         snitching 78:21 79:3            standard 30:25
 21 84:7, 22 85:10, 19         51:8 62:19 69:9, 23        sole 56:21, 25                  standards 63:21
  86:2 87:9, 14, 21, 24        72:19 74:6 76:9            solve 16:24 42:8                 64:2, 5, 19
  88:12 90:12, 14, 22          79:7 81:8 86:16            somebody 29:22                  start 18:5
  91:2 97:17                   87:6, 7 90:4 92:15          36:13, 21 54:15, 21            started 18:8 92:16
 seeing 96:24                  93:13, 17 94:10             71:19                          STATE 1:1 4:3
 seek 16:18                   showed 49:22 50:18          soon 15:24                       14:2, 7 18:18, 20
 seen 53:21 69:17             showing 51:23 53:8          sorry 19:5 81:22                 23:13 24:12, 18
  70:11 72:8 74:3              77:16 93:8, 23             southeast 23:14                  30:13 53:21 80:11
  87:13                       shut 36:12                  SOUTHERN 1:7                     95:2 101:3, 6, 16
 select 25:2                  side 52:8                    6:16, 19, 23 11:1               102:3, 21
 selected 24:25               sign 38:22 52:12             12:3 18:15, 23 19:3            stated 17:25 19:14
 selecting 25:15               53:2, 6 85:3                22:20 23:24 24:2                24:16 50:11 52:24
 selects 25:8                 signature 52:9, 13           30:17 31:12 32:5               statement 20:2 82:9,
 send 12:18, 19 13:9           53:2 54:1, 16 57:7          33:25 34:4 35:21               12 91:5, 8
  21:25 22:5                   71:1 100:15                 38:3 46:15 55:5                statements 86:15
 sending 12:23 17:12          signatures 51:7 53:1         59:21 60:14 63:10,             States 23:14, 16, 21
  21:22 90:11                  56:6, 15 58:14, 21, 24     17, 24 64:2 72:2                 46:21 52:7 63:15, 21,
 sense 5:21 6:4 36:24          66:5, 10, 15 67:11          81:19 84:16, 25                24 70:6 79:20 83:1
 sent 39:2, 5 55:22            68:21                       86:10 90:9 94:7, 22             84:2, 19 85:5, 15
  59:10 62:1 63:5             signed 9:22 10:8            span 23:13                      stating 17:2 51:18
  73:3                         53:22 54:1, 15, 21, 22,    speak 10:11 15:3, 18,            83:14 92:11
 separately 21:13             25 56:5 81:14 84:20         19, 24, 25 16:2, 5, 12,         stay 8:3 60:23
 serious 68:13, 17, 20         90:12 101:12               13, 15 22:11, 13 30:2,          staying 14:16 22:17
 seriousness 68:15            significantly 85:8          5, 14 35:8 82:5                 stenographic 102:9
 set 87:16 90:17              signing 47:1 56:12           86:12 96:4                     stenographically
 seven 74:23                  similar 53:18, 19           speaking 48:12 89:1              102:7
 severe 37:7 38:14            similarly 17:20 34:3        specific 18:6 65:10             step 14:12
 shake 5:3                    single 17:3 54:20            79:4                           steps 27:18
 shape 80:16                  sir 7:9                     specifically 47:9               stop 5:25 83:16
 share 71:8                   site 19:18, 22 20:3, 9       53:13 89:7                     stopped 93:8
 sheet 12:17 17:12             23:7, 25 24:4 25:22        speculate 31:21                 streamlined 13:2
  52:1, 6, 17 53:3, 18,        40:20, 23, 24 41:2, 4,     speculation 31:16               strike 38:1 43:14
 19 54:21 57:11, 17           5 52:8 62:8 81:4            spell 41:20                      49:14 53:24 54:13
  59:7 77:15 84:20             82:15 83:17                spelled 53:14                    58:20 60:16 67:9
  92:18 100:9                 sites 23:19                 spoke 5:17, 19, 21               89:20
 sheets 3:11 12:22            sitter 80:9                  13:16 42:10 48:2               striking 21:22
  17:18, 21 45:18, 21,        sitting 6:4 10:7             59:12, 15 60:4 89:21           strives 63:25
 23 47:17 48:5 50:25           31:3, 25 54:10 55:11       spoken 95:25                    structure 65:9
  51:4, 24 52:20, 22, 25       59:6 61:22 91:4            spreadsheet 12:23               stuff 18:22 46:23
  53:6, 20 54:2, 5, 12,       situation 92:4 93:9

                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                       Page: 113
        Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 115 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 subcontractors 13:14          77:5 78:16 79:22, 24       41:24 43:16, 17                TIME 1:16 3:11
  18:22                        89:6                       49:16, 23 56:20                 5:13 9:19 12:17, 22
 subjective 88:22             suspension 22:5             60:18 68:8, 25 69:6,            15:1, 20, 21 16:6
 subjectively 65:7, 17        sworn 4:8 101:9            21 85:17 94:3                    17:12, 18, 21 19:7
 subordinate 74:1             system 13:3, 5 54:9        terminates 39:23                 20:17 41:13, 19, 20
 substance 100:8               55:5 76:22 77:5           terminating 36:2                 43:1 45:18, 21, 23
 substantive 97:19             86:2                       37:20 38:8, 11 42:3,            46:23 47:17 48:5
 sue 42:17                                               6 61:18 68:3                     50:25 51:4, 24 52:1,
 sufficient 68:10             <T>                        Termination 3:13, 14            6, 20, 22, 25 53:6, 20
 suggest 16:4, 11             take 5:9, 25 6:1, 3         37:9 38:19, 20, 23              54:2, 4, 12, 14, 20
  29:21                        8:15 27:18 42:7            39:18, 23 40:4 43:11            55:1, 4, 8, 19 56:6, 16,
 suggested 48:6                72:15 74:16 97:20          61:7 62:11, 16 64:22           19 57:11, 16 58:21,
 Suite 2:3, 7                 Taken 1:13 4:2              68:6 69:15 70:5, 7,            25 59:4, 7 61:7
 sum 80:9                      35:5 50:24 72:17          18 85:24 86:3 93:21              64:16 65:22 66:10,
 summer 41:8                   86:22 87:4                terminations 40:11,             15, 19, 21, 23, 24, 25
 superintendent 12:17         talk 5:10 68:2             17                               67:5, 11, 15, 18, 21
  13:23 14:11, 18, 21         talking 5:9 17:8           terms 21:23 27:19                68:9, 10, 12, 21 77:15
  15:1 17:11, 15 18:4,         19:6 28:16, 17 78:15,      68:14                           84:20 85:2 91:21
 6, 9 20:4, 7, 16, 20         17                         testified 4:9                    92:9, 18, 24 93:2, 6
  21:1, 7, 13 22:3, 4         Tampa 2:8                  testifying 6:7, 15               95:13 97:10, 13
  24:10, 14 25:3 26:1,        Tardiness 37:17            testimony 5:1 6:11              timeline 30:25
 5, 24 27:4, 6 28:12,         task 21:6                   17:2                           times 16:17 18:14
 22 29:7, 9, 14, 16           tasks 21:9, 10 25:25       Texas 60:23                      19:21, 25 30:7 37:13,
  30:9, 14 38:21 41:14        taught 77:13               Text 3:15, 16, 18 9:1,          14 40:14 86:13 96:4
  50:2 52:18, 20 56:11,       team 20:8, 10, 13, 22      6, 9, 11, 14 39:13              title 11:16
 19 57:2, 8 58:11              21:10, 15 22:1, 9, 17      45:25 46:2 71:16               today 4:21, 25 5:8,
  59:10 65:5 82:20             23:1, 6, 10 24:24          73:3 74:3 77:23                23 6:7, 15 10:7 17:2
  92:10 94:16                  41:15 50:19, 20 65:3,      78:10, 13 79:16                 19:11 31:3, 25 54:10
 superintendents 27:1         4 93:16, 18, 20            texts 71:13                      55:11 59:6 60:14
  28:13, 17, 22 30:6, 11      team's 22:23               Thank 76:3 91:19                 61:22 91:4 97:14
  38:5, 7 41:19 65:19         technical 35:3             theirs 51:7                     today's 4:13 6:18
 superintendent's             technology 101:8           theoretically 57:24              7:23 8:6, 13 10:12,
  17:23 20:12                 telephone 37:17            thers 80:9                      16
 supervise 11:8, 11, 12,      tell 5:17, 20 12:15        thing 64:13 87:7                told 47:11 48:9
 13 12:14 13:11, 15,           13:11 16:8 19:23          things 4:20 46:11                49:22 56:17 60:23
 17 14:6, 7, 9 18:11           21:8 33:15 37:6            47:18 87:3, 6 93:17             61:16 73:16 84:4
  66:22                        42:13, 20 44:23           think 31:17 32:18,               88:14 91:5
 supervising 11:10             47:10 48:3 65:23          22 43:6 49:7 61:2               tolerable 56:19
  25:22                        66:14 67:3, 8, 10, 14,     87:2 98:3                      total 74:23
 supervision 11:19            24 76:14                   thinks 32:24                    town 79:25
 supervisor 21:7              telling 17:9 96:7          third 52:3                      track 17:11 76:22
  27:16 45:2, 3 58:7          ten 28:17 37:14            thought 84:9                     77:5, 10
  66:20 93:5 94:15             40:13                     threat 80:15, 24 97:4           tracked 50:1
 supply 55:19                 tenure 37:25               threaten 96:21                  train 46:11
 supposed 66:21               terminate 36:8, 10,        threats 62:15 80:22             trained 27:7, 22
 sure 15:18 19:9              15 37:2, 9 38:3 42:7       three 30:7 51:23                 43:23 77:13, 15
  23:5 26:2 28:16              68:10 85:22                53:20 54:2                     training 27:10, 12, 19
  39:21 42:5 51:25            terminated 36:21           throw 78:23                      28:4 44:1, 6
  53:17 54:7, 10 71:20         37:23 38:7, 14 39:3,      tidbit 5:12                     transcript 97:16, 20
  72:14 73:4 74:21            7, 11 40:7, 20, 25

                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                       Page: 114
        Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 116 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


  102:7, 8                    30:19, 23 31:5 44:21       20, 23                          46:25 60:13, 24
 transcription 100:5          45:9, 12 46:13             watch 80:8, 11                  63:25 79:24 81:4
 transpired 81:5              unnamed 74:13              watching 80:8, 11               93:1, 8, 13, 16, 19, 23
 transport 24:3               untolerable 84:11          water 6:2                       worked 17:17 19:15
 tried 8:10                   updated 44:11, 14          way 14:12 17:16                 40:21 56:22 57:25
 Trouble 71:18 78:22          updates 44:17               34:22 39:22 54:11              58:1 78:5 81:19
 truck 24:14, 18, 22          upholding 64:6              58:9 59:11 80:16               84:21 85:9
 trucks 23:1 25:1, 16         urged 64:4                 ways 14:23 92:12                workers 12:18 18:12
 truck's 24:24                urinate 84:4               week 20:5 30:7, 9,              working 10:25 11:4
 true 17:21, 22 77:9          use 37:17 73:10, 13,       14 85:2                         18:5 19:2 20:5, 8
  87:22 90:13 91:5            22, 25 77:15 83:17         weeks 97:6                      26:2 31:3, 6 59:20
  102:8                        84:3                      weight 6:12                     69:4 84:5 97:3, 6
 truthfully 6:7               uses 74:24                 well 18:7 31:18                 workplace 43:22
 try 79:23 92:12              usually 14:25               38:1 60:16 64:20               64:1, 4 73:14, 17, 22
 trying 78:23                                             65:21 66:18 72:16              works 13:3
 twice 96:7                   <V>                         78:7 89:15                     workspace 93:12
 two 8:11, 19 40:8, 14        valid 24:10 25:3           went 59:17, 21 78:8             worsteds 81:6
  42:9 57:5 74:25              89:3                      we're 61:17                     write 21:14
  87:6                        validate 17:17             Westshore 2:7                   writes 52:16
 type 92:22 93:4              validating 57:1            whatsoever 17:4                 write-up 22:5 37:8
  95:5                        vehicle 24:7 25:8           21:21 28:6 36:22                60:10
 types 63:13                  verbal 37:11                96:17                          writeups 22:11
 typically 46:9 97:23         verify 59:11 92:13,        white 41:24 42:1                writing 67:25
                              15                         willing 49:24 50:5              written 37:8, 10
 <U>                          verifying 57:1              92:3                            38:13 56:18 61:16,
 uh-huh 5:4                   Vested 11:24 12:24         winter 41:8                     19, 23 65:9, 12 87:16,
 ultimately 87:16             videoconferencing          wish 29:17 37:2                 18 94:24
 uncomfortable 95:8            101:8                     withholding 49:7                wrong 17:9 36:19
 underneath 52:12             violate 36:10, 22          Witness 3:3 4:10                 39:1 50:6, 13 68:19,
 understand 5:5, 10           violation 68:14             97:21 98:3                     23
  6:9, 11, 20, 21 13:4        violence 96:21             Witt 3:13 13:25                 wrongful 40:3
  19:24 22:21 27:17           visible 95:3                14:1 56:8 58:7
  34:16, 19 51:21             visits 20:3                 59:14, 16 60:4, 6, 11,         <Y>
  53:22, 24, 25 54:2          voluntarily 60:19, 20      18, 24 61:6 65:23               y'all 79:22
  56:12 63:5 68:15            vs 1:6                      66:9, 14, 18 67:3, 8,          yard 78:18
  76:23 77:9 78:13                                       10, 14, 17 70:25                Yeah 33:3
  80:15 83:4, 6, 9, 18        <W>                         74:13, 24 75:3, 7, 10          year 9:24 10:2, 3, 4
  87:12 88:7                  wage 69:3                   76:5, 7 80:25 81:2              18:5 40:16 41:13
 understanding 39:1           wages 85:17                 85:12 86:1                     44:15 63:17
  46:11 89:10                 waive 97:16, 20 98:3       Witt's 62:4 69:15               years 8:11 11:2, 5
 Understood 7:18              walk 37:2                  women 78:20                     18:1 19:24 31:4
  9:15 49:9 50:23             want 5:18 8:1              wondering 38:17                 40:13, 15
  63:16 68:13 96:14           36:15 44:21 74:17          word 18:13 34:15
 underwent 27:19              87:2 89:9 96:22             73:11, 13, 16, 22, 25          <Z>
 unfair 35:1                  98:2                        74:25                          Zoom 1:16 6:10
 UNITED 1:1 23:14,            wanted 50:12 57:23         words 87:18                     62:24, 25 71:11
 16                           wanting 49:19              work 7:12 12:4                  74:11 76:12 87:9
 unlawful 17:4 20:22          warning 37:8, 11            13:12 15:8 17:10
  26:10, 18, 21, 25 27:4,     38:13 56:18 61:16,          18:18 19:15 21:18
 7, 11, 20, 23 28:2                                       23:7 36:11 43:19

                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                       Page: 115
        Case 3:24-cv-00404-MCR-ZCB              Document 21-4         Filed 06/05/25        Page 117 of 124
Deposition of George Pappas                                 Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


       WORD LIST              400065 (1)                    access (3)                      APPEARANCES (1)
                              45 (1)                        accommodations (1)              appeared (1)
 <0>                          46 (1)                        accountable (1)                 appearing (2)
 03/19/2027 (2)                                             accurate (2)                    appears (1)
                              <5>                           ACKNOWLEDGMEN                   applied (1)
 <1>                          5 (3)                         T (1)                           apply (1)
 1 (4)                        50 (1)                        act (3)                         approach (1)
 10 (3)                       500 (1)                       action (5)                      appropriate (1)
 100 (3)                      51 (1)                        actions (2)                     approval (1)
 10th (1)                     520 (1)                       activities (3)                  approximate (1)
 11 (3)                                                     activity (14)                   approximately (1)
 11th (1)                     <6>                           acts (2)                        April (1)
 12 (3)                       6 (4)                         actual (2)                      area (1)
 12:35 (2)                    60 (1)                        adding (1)                      arrival (1)
 13 (3)                       62 (1)                        additional (2)                  ARTHUR (4)
 15 (1)                       69 (2)                        address (4)                     asked (6)
 17 (2)                                                     affirmed (1)                    asking (12)
 18 (4)                       <7>                           African (1)                     asks (1)
 19 (1)                       7 (4)                         agents (2)                      aspect (2)
 19th (1)                     7:00 (1)                      ago (5)                         ass (1)
                              700 (1)                       agree (1)                       asserted (1)
 <2>                          71 (1)                        AH25 (2)                        assign (1)
 2 (4)                        72 (1)                        ahead (1)                       assigned (4)
 20 (4)                       74 (1)                        A-l-a (1)                       assignment (1)
 200 (2)                      76 (1)                        A-l-a-n-z-o (1)                 assigns (1)
 2012 (1)                     77 (1)                        Alfredo (1)                     attached (1)
 2016 (2)                     79 (1)                        allegation (1)                  attempt (1)
 2019 (1)                     7th (1)                       allegedly (1)                   attempting (1)
 2023 (9)                                                   allow (2)                       attention (6)
 2024 (1)                     <8>                           allowed (2)                     attorney (12)
 2025 (4)                     8 (3)                         A-l-o (1)                       attorneys (1)
 21 (1)                       8:00 (1)                      alongside (1)                   attorney's (1)
 29 (1)                       81 (1)                        ALONZO (21)                     authorities (1)
 2907 (1)                     87 (1)                        Alonzo's (1)                    authority (7)
 2997 (1)                                                   Alternate (1)                   authorized (1)
                              <9>                           alternatives (1)                availability (1)
 <3>                          9 (3)                         American (1)                    available (3)
 3 (3)                        9:33 (1)                      amount (2)                      avenues (1)
 3:24-cv-00404-MCR            90 (1)                        answer (38)                     aware (4)
  (1)                         91 (1)                        answers (7)
 30 (2)                       95 (1)                        anybody (9)                     <B>
 33131 (1)                                                  anymore (1)                     baby (1)
 33609 (1)                    <A>                           anyways (1)                     back (5)
 34683 (1)                    a.m (1)                       Anzivino (5)                    bad (1)
 34691 (1)                    abandonment (2)               apart (7)                       BARROUKH (49)
                              ability (6)                   apologize (1)                   based (5)
 <4>                          able (2)                      apologized (1)                  basically (4)
 4 (7)                        absenteeism (2)               appeal (1)                      basis (1)
 4:00 (1)                     acceptable (3)                appear (1)                      Bates (3)


                                       215-341-3616 transcripts@everestdepo.com
                                              Everest Court Reporting LLC                                          Page: 1
        Case 3:24-cv-00404-MCR-ZCB             Document 21-4        Filed 06/05/25        Page 118 of 124
Deposition of George Pappas                               Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 beaner (1)                   ceased (1)                  completes (1)                   <D>
 began (3)                    cell (2)                    completing (2)                  DANIEL (1)
 Behalf (3)                   certain (5)                 comptroller (1)                 danielb@dereksmithla
 behavior (2)                 CERTIFICATE (2)             computer (1)                    w.com (1)
 behaviors (1)                certify (4)                 concluded (1)                   DATE (8)
 belief (1)                   chain (2)                   conduct (12)                    dated (4)
 believe (38)                 chance (2)                  conducted (5)                   day (10)
 believed (1)                 CHANGE (1)                  conference (2)                  days (5)
 belong (1)                   changes (2)                 confirm (6)                     day-to-day (3)
 beneath (3)                  charges (2)                 confirmation (2)                December (2)
 best (3)                     chart (1)                   confirming (4)                  decide (1)
 better (1)                   chat (4)                    connected (1)                   decision (1)
 binding (1)                  checked (3)                 consider (1)                    Declaration (3)
 bit (2)                      chewed (1)                  considered (1)                  decline (2)
 black (7)                    Christofilis (3)            consistent (2)                  defecate (1)
 board (2)                    C-h-r-i-s-t-o-f-i-l-i-s     consistently (1)                Defendant (5)
 bottom (8)                    (1)                        contact (4)                     definite (1)
 Boulevard (1)                claims (1)                  contacted (2)                   definitely (1)
 box (1)                      clear (10)                  Continue (3)                    denied (2)
 boxes (1)                    clearly (2)                 contribute (1)                  deny (1)
 break (6)                    client (3)                  control (5)                     department (8)
 breaks (2)                   clients (17)                conversation (4)                DEPONENT (1)
 Brickell (1)                 client's (2)                copies (1)                      DEPOSITION (16)
 BRIDGE (33)                  clients's (5)               copy (3)                        DEREK (1)
 bridges (2)                  close (1)                   corner (1)                      derogatory (1)
 Bridge's (3)                 Coates (2)                  correct (79)                    describe (3)
 Brief (3)                    codes (1)                   correction (1)                  described (1)
 bring (6)                    coffee (1)                  corrections (1)                 Description (1)
 broadly (1)                  COLE (2)                    correctly (1)                   designation (1)
 broken (1)                   colleague (1)               cost (1)                        despite (1)
 brother (1)                  collecting (1)              costs (1)                       determination (1)
 brought (6)                  color (1)                   counsel (2)                     determinations (1)
 BROWARD (2)                  come (2)                    count (1)                       determine (1)
 Buck (2)                     comes (2)                   country (1)                     determined (1)
 budget (2)                   command (2)                 County (4)                      device (1)
 budgets (2)                  comments (1)                couple (5)                      devices (1)
 bunch (1)                    Commission (4)              course (2)                      Dezmond (8)
 bus (1)                      Communication (3)           COURT (11)                      different (7)
 bypass (1)                   companies (1)               Cousin (2)                      difficulties (1)
                              company (60)                co-workers (1)                  DIRECT (2)
 <C>                          company's (6)               crew (1)                        directed (1)
 Cadden (1)                   compensated (1)             criminal (3)                    directly (2)
 call (14)                    compensation (2)            CROSS-                          disciplinary (2)
 calling (1)                  complain (5)                EXAMINATION (1)                 discipline (8)
 call-no (9)                  complained (4)              current (2)                     disciplining (1)
 calls (4)                    complaint (21)              currently (2)                   disclosed (1)
 cars (2)                     complaints (32)             cut (2)                         discover (2)
 CASE (1)                     complete (2)                cuz (2)                         discrepancies (3)
 cause (1)                    completed (4)                                               discrepancy (2)


                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                          Page: 2
        Case 3:24-cv-00404-MCR-ZCB            Document 21-4         Filed 06/05/25        Page 119 of 124
Deposition of George Pappas                               Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 discriminated (4)            encouraged (2)              feel (3)                        fraudulent (1)
 discriminating (1)           engage (1)                  felt (1)                        free (2)
 discrimination (28)          Enrique (1)                 Fidencio (5)                    frequently (3)
 discuss (19)                 entail (1)                  Fidencio's (1)                  Friday (1)
 discussed (10)               entails (1)                 field (4)                       front (2)
 discussing (2)               entered (1)                 file (3)                        full (1)
 discussion (12)              entire (1)                  filed (5)                       further (6)
 discussions (1)              entity (1)                  filing (1)
 dispute (2)                  environment (1)             fill (2)                        <G>
 disrespectful (1)            Errata (1)                  filled (1)                      generally (1)
 dissuade (1)                 Esequiel (12)               final (3)                       generate (1)
 distribute (1)               ESQ (2)                     finally (1)                     geographically (1)
 DISTRICT (2)                 essential (1)               financially (1)                 GEORGE (18)
 dnt (1)                      estimate (1)                fine (2)                        getting (1)
 document (22)                ethnicity (1)               fired (1)                       give (12)
 documentation (3)            events (1)                  first (11)                      given (5)
 documented (1)               E-verified (1)              five (4)                        gives (1)
 documents (10)               exact (1)                   five-minute (1)                 giving (2)
 doing (2)                    exactly (6)                 FLORIDA (18)                    go (19)
 dozens (1)                   EXAMINATION (3)             fly (1)                         goal (3)
 drafted (1)                  examined (1)                flying (1)                      goes (3)
 Drive (9)                    example (1)                 focus (1)                       going (18)
 driver's (4)                 examples (1)                follow (1)                      Good (2)
 driving (2)                  Excel (3)                   followed (1)                    government (2)
 drugs (1)                    exchange (1)                following (3)                   grammatical (1)
 due (1)                      exchanged (3)               follows (1)                     ground (3)
 DUI (1)                      Excuse (2)                  follow-up (1)                   GROUP (7)
 duly (2)                     Exhibit (40)                food (1)                        guess (4)
 duration (2)                 EXHIBITS (2)                FORD (25)
 duties (1)                   exit (1)                    Ford's (6)                      <H>
 duty (2)                     Expires (2)                 foregoing (2)                   half (1)
                              explain (8)                 foreman (46)                    hallway (1)
 <E>                          explanation (1)             foreman/employees               hand (1)
 eat (1)                      extend (1)                   (1)                            handbook (23)
 EEO (17)                     extent (1)                  foreman's (2)                   handbooks (1)
 EEOC (3)                                                 foremen (2)                     handle (6)
 effectively (1)              <F>                         forged (12)                     handled (1)
 eight (2)                    fact (2)                    forgery (8)                     handles (2)
 either (10)                  failing (1)                 forging (3)                     handling (4)
 eligible (3)                 failure (2)                 form (64)                       happened (3)
 email (2)                    fair (11)                   formal (1)                      happening (5)
 emergency (1)                falsely (1)                 formality (1)                   happens (1)
 employ (2)                   falsification (1)           forman (1)                      harassment (12)
 employed (2)                 familiarity (2)             format (1)                      Harbor (3)
 employee (73)                familiarize (1)             former (1)                      hard (1)
 employees (71)               families (1)                forth (1)                       HAWKINS (32)
 employee's (2)               family (2)                  found (1)                       Hawkins's (2)
 employees's (2)              far (2)                     founded (1)                     head (1)
 employment (17)              feedback (2)                four (2)                        healthy (2)


                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                          Page: 3
        Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 120 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 hear (4)                     information (9)            kind (7)                        <M>
 heard (2)                    informed (2)               KISSANE (2)                     man (2)
 held (3)                     informing (1)              knew (4)                        manage (2)
 help (7)                     initial (2)                know (120)                      manager (19)
 helpful (1)                  input (2)                  knowing (1)                     managers (1)
 HH-375658 (2)                inputting (1)              knowingly (1)                   March (3)
 hierarchy (2)                inquiries (2)              knowledge (36)                  mark (10)
 hire (8)                     inspectors (1)             known (1)                       marked (15)
 hired (3)                    Insubordination (1)        knows (1)                       marker (2)
 hires (2)                    insurance (2)                                              marking (3)
 hiring (6)                   interested (2)             <L>                             material (1)
 Hispanic (1)                 interesting (2)            Labor (1)                       matter (2)
 hoe (2)                      Interrogatories (3)        lack (1)                        mean (10)
 hold (1)                     interrogatory (4)          laid (1)                        Meaning (3)
 Holiday (2)                  interview (1)              language (1)                    means (8)
 home (5)                     investigate (1)            Large (1)                       meet (18)
 Hopefully (2)                investigated (1)           larger (1)                      meeting (7)
 hotel (2)                    investigating (1)          LAW (1)                         member (2)
 hour (5)                     investigation (2)          lawsuit (3)                     members (4)
 hours (49)                   investigations (5)         lawyer (2)                      men (1)
 hr (48)                      involved (1)               lay (1)                         mentioned (1)
 HR's (1)                     Isaac (14)                 leads (1)                       message (10)
 hundred (1)                  Isaac's (2)                learning (1)                    messaged (1)
                              issuance (1)               leave (1)                       messages (13)
 <I>                          issue (16)                 leaves (1)                      met (1)
 identification (14)          issued (2)                 left (1)                        Miami (1)
 identify (2)                 issues (10)                left-hand (2)                   Michele (5)
 importance (2)               its (4)                    letters (1)                     midday (1)
 important (2)                                           letting (1)                     middle (1)
 improperly (1)               <J>                        license (3)                     Minimal (2)
 inappropriate (1)            January (1)                license/I.D (1)                 minute (1)
 inaudible (1)                Jeff (1)                   LINE (1)                        minutes (4)
 include (2)                  job (14)                   list (2)                        misconduct (7)
 included (1)                 jobs (1)                   listed (1)                      missing (2)
 includes (1)                 JONES (78)                 little (4)                      mistakes (2)
 including (5)                Jones's (6)                live (2)                        mm-hmm (2)
 inclusive (1)                judge (1)                  LLC (4)                         moment (3)
 incorrect (7)                July (1)                   location (1)                    moments (1)
 incorrectly (2)              jump (1)                   lodging (5)                     money (2)
 independently (1)            June (4)                   long (9)                        month (1)
 INDEX (1)                                               longer (1)                      months (2)
 indicates (1)                <K>                        look (11)                       morning (1)
 individual (19)              Keam (7)                   looked (1)                      motel (1)
 individuals (19)             K-e-a-m (1)                looking (4)                     move (2)
 individual's (1)             keep (1)                   looks (4)                       Muckle (1)
 individuals's (1)            keeping (1)                loss (1)                        multiple (6)
 inform (4)                   keeps (1)                  Lucas (6)
 Informal (2)                 kept (2)                   lunch (2)                       <N>
 informally (1)               Key (1)                                                    Name (7)


                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                          Page: 4
        Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 121 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 named (1)                    occasion (1)               performance (1)                 productive (1)
 names (9)                    occasions (1)              performed (1)                   profit (1)
 Narcissus (1)                occur (2)                  performing (1)                  project (31)
 nature (2)                   occurred (3)               person (5)                      projects (5)
 necessarily (1)              occurring (3)              personal (3)                    proper (1)
 necessary (8)                offense (3)                personally (5)                  properly (3)
 need (17)                    offer (1)                  pertain (1)                     proposed (1)
 needed (3)                   office (18)                phone (16)                      propounded (1)
 needing (1)                  officer (15)               physical (2)                    protection (1)
 needs (2)                    officials (1)              Pinellas (2)                    provide (6)
 Never (17)                   okay (249)                 P-i-n-e-l-l-a-s (1)             Public (4)
 new (1)                      onboarding (7)             PLACE (2)                       punished (6)
 NICHOLAS (9)                 once (7)                   placed (1)                      purpose (1)
 Nick (7)                     ones (1)                   Plaintiff (4)                   purposes (2)
 nickname (7)                 on-site (3)                Plaintiffs (3)                  put (6)
 Nick's (1)                   operate (1)                Plaintiff's (15)
 night (2)                    operations (1)             play (1)                        <Q>
 nighttime (1)                option (2)                 please (24)                     question (10)
 nine (3)                     order (1)                  PLLC (1)                        questions (16)
 non-black (1)                ordering (1)               PM (1)                          quick (3)
 non-EEO (1)                  OSHA (1)                   point (10)                      quicker (1)
 non-foreman (1)              outside (5)                policies (9)                    quickly (1)
 non-HR (1)                   owed (1)                   policy (13)                     Quite (1)
 non-superintendent           owner (7)                  Pollo (4)
 (1)                          owner's (1)                poor (1)                        <R>
 North (1)                    ownership (1)              porta (1)                       R&B (1)
 NORTHERN (1)                                            position (5)                    race (6)
 Notary (4)                   <P>                        possibility (1)                 racial (1)
 note (1)                     p.m (3)                    possible (2)                    racist (1)
 noted (1)                    Page (7)                   potential (1)                   random (3)
 notepad (1)                  pages (3)                  potentially (1)                 range (1)
 notes (4)                    paid (8)                   potties (1)                     rarely (1)
 notice (7)                   Palm (3)                   practices (1)                   reach (2)
 noticed (2)                  paper (1)                  prefer (1)                      reached (4)
 noticing (1)                 paperwork (1)              preparation (1)                 read (17)
 notified (4)                 PAPPAS (10)                prepare (3)                     reading (2)
 notifies (1)                 paragraph (3)              present (1)                     ready (2)
 notify (5)                   paragraphs (1)             preside (1)                     reall (1)
 November (3)                 participant (1)            preventing (1)                  really (1)
 number (16)                  parties (2)                previously (2)                  reason (4)
 numbers (1)                  Partly (1)                 Printout (1)                    reasons (2)
                              party (1)                  prior (7)                       recall (17)
 <O>                          pay (2)                    problem (2)                     receipts (1)
 O-301 (1)                    paycheck (1)               problems (1)                    receive (5)
 OATH (1)                     payment (1)                procedure (4)                   received (1)
 Object (28)                  payroll (12)               procedures (1)                  recess (3)
 objecting (1)                people (9)                 process (8)                     recommend (1)
 objection (18)               percent (2)                produced (5)                    record (12)
 observed (1)                 perform (1)                producing (1)                   records (3)


                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                          Page: 5
        Case 3:24-cv-00404-MCR-ZCB             Document 21-4        Filed 06/05/25        Page 122 of 124
Deposition of George Pappas                               Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 recover (1)                  responses (1)               second (2)                      small (3)
 red (1)                      responsibilities (4)        see (57)                        SMITH (1)
 REDIRECT (1)                 Responsibility (3)          seeing (1)                      snitches (1)
 refer (3)                    responsible (10)            seek (1)                        snitching (2)
 reference (1)                rest (4)                    seen (6)                        sole (2)
 referring (3)                restate (1)                 select (1)                      solve (2)
 refers (1)                   restroom (2)                selected (1)                    somebody (6)
 reflects (3)                 result (2)                  selecting (1)                   soon (1)
 refresh (1)                  resulted (1)                selects (1)                     sorry (2)
 regarding (12)               results (1)                 send (5)                        southeast (1)
 regards (12)                 retain (1)                  sending (4)                     SOUTHERN (35)
 regular (1)                  retaliate (1)               sense (3)                       span (1)
 regularly (3)                retaliation (11)            sent (7)                        speak (21)
 rehire (4)                   review (3)                  separately (1)                  speaking (2)
 reject (1)                   reviewed (4)                serious (3)                     specific (3)
 relation (1)                 reviewing (3)               seriousness (1)                 specifically (3)
 relationship (2)             revised (1)                 set (2)                         speculate (1)
 relative (2)                 Reyes (5)                   seven (1)                       speculation (1)
 relevant (1)                 right (40)                  severe (2)                      spell (1)
 remedy (2)                   rights (1)                  shake (1)                       spelled (1)
 remember (12)                Roach (2)                   shape (1)                       spoke (10)
 REMOTE (1)                   ROAD (35)                   share (1)                       spoken (1)
 repair (3)                   role (7)                    sheet (16)                      spreadsheet (1)
 repairs (3)                  roles (1)                   sheets (46)                     SRB (30)
 rephrase (4)                 room (4)                    shit (2)                        SRB's (1)
 replies (1)                  Roughly (3)                 show (27)                       standard (1)
 report (17)                  Ruiz (35)                   showed (2)                      standards (4)
 reported (11)                Ruiz's (3)                  showing (5)                     start (1)
 Reporter (11)                rule (2)                    shut (1)                        started (2)
 reporting (6)                rules (3)                   side (1)                        STATE (19)
 reports (5)                  run (2)                     sign (5)                        stated (5)
 represent (8)                Ryan (18)                   signature (8)                   statement (5)
 representative (4)                                       signatures (12)                 statements (1)
 represented (1)              <S>                         signed (13)                     States (15)
 request (2)                  safe (1)                    significantly (1)               stating (4)
 requested (5)                safety (1)                  signing (2)                     stay (2)
 require (1)                  saw (2)                     similar (2)                     staying (2)
 required (2)                 saying (4)                  similarly (2)                   stenographic (1)
 requirements (2)             says (5)                    single (2)                      stenographically (1)
 requires (1)                 SBR (1)                     sir (1)                         step (1)
 resign (2)                   scan (1)                    site (19)                       steps (1)
 resigned (3)                 scared (1)                  sites (1)                       stop (2)
 resolve (2)                  schedule (3)                sitter (1)                      stopped (1)
 resolved (4)                 scheduling (4)              sitting (9)                     streamlined (1)
 respect (1)                  SCOTT (2)                   situation (2)                   strike (9)
 respond (1)                  screen (1)                  Six (6)                         striking (1)
 responded (1)                scroll (3)                  skin (1)                        strives (1)
 responding (1)               scrolling (1)               slur (1)                        structure (1)
 response (9)                 season (1)                  slurs (1)                       stuff (2)


                                     215-341-3616 transcripts@everestdepo.com
                                            Everest Court Reporting LLC                                          Page: 6
        Case 3:24-cv-00404-MCR-ZCB           Document 21-4         Filed 06/05/25        Page 123 of 124
Deposition of George Pappas                              Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 subcontractors (2)           terminating (9)            truck's (1)                     voluntarily (2)
 subjective (1)               Termination (22)           true (7)                        vs (1)
 subjectively (2)             terminations (2)           truthfully (1)
 subordinate (1)              terms (3)                  try (2)                         <W>
 substance (1)                testified (1)              trying (1)                      wage (1)
 substantive (1)              testifying (2)             twice (1)                       wages (1)
 sue (1)                      testimony (3)              two (8)                         waive (3)
 sufficient (1)               Texas (1)                  type (3)                        walk (1)
 suggest (3)                  Text (19)                  types (1)                       want (9)
 suggested (1)                texts (1)                  typically (2)                   wanted (2)
 Suite (2)                    Thank (2)                                                  wanting (1)
 sum (2)                      theirs (1)                 <U>                             warning (8)
 summer (1)                   theoretically (1)          uh-huh (1)                      watch (2)
 superintendent (51)          thers (1)                  ultimately (1)                  watching (2)
 superintendents (11)         thing (2)                  uncomfortable (1)               water (1)
 superintendent's (2)         things (6)                 underneath (1)                  way (8)
 supervise (14)               think (8)                  understand (31)                 ways (2)
 supervising (2)              thinks (1)                 understanding (3)               week (5)
 supervision (1)              third (1)                  Understood (7)                  weeks (1)
 supervisor (8)               thought (1)                underwent (1)                   weight (1)
 supply (1)                   threat (3)                 unfair (1)                      well (10)
 supposed (1)                 threaten (1)               UNITED (3)                      went (3)
 sure (20)                    threats (2)                unlawful (19)                   we're (1)
 suspension (1)               three (5)                  unnamed (1)                     Westshore (1)
 sworn (2)                    throw (1)                  untolerable (1)                 whatsoever (5)
 system (7)                   tidbit (1)                 updated (2)                     white (2)
                              TIME (84)                  updates (1)                     willing (3)
 <T>                          timeline (1)               upholding (1)                   winter (1)
 take (10)                    times (10)                 urged (1)                       wish (2)
 Taken (8)                    title (1)                  urinate (1)                     withholding (1)
 talk (2)                     today (18)                 use (8)                         Witness (4)
 talking (8)                  today's (7)                uses (1)                        Witt (34)
 Tampa (1)                    told (10)                  usually (1)                     Witt's (2)
 Tardiness (1)                tolerable (1)                                              women (1)
 task (1)                     total (1)                  <V>                             wondering (1)
 tasks (3)                    town (1)                   valid (3)                       word (8)
 taught (1)                   track (4)                  validate (1)                    words (1)
 team (21)                    tracked (1)                validating (1)                  work (25)
 team's (1)                   train (1)                  vehicle (2)                     worked (10)
 technical (1)                trained (5)                verbal (1)                      workers (2)
 technology (1)               training (6)               verify (3)                      working (14)
 telephone (1)                transcript (4)             verifying (1)                   workplace (6)
 tell (22)                    transcription (1)          Vested (2)                      works (1)
 telling (2)                  transpired (1)             videoconferencing (1)           workspace (1)
 ten (3)                      transport (1)              violate (2)                     worsteds (1)
 tenure (1)                   tried (1)                  violation (1)                   write (1)
 terminate (9)                Trouble (2)                violence (1)                    writes (1)
 terminated (23)              truck (3)                  visible (1)                     write-up (3)
 terminates (1)               trucks (3)                 visits (1)                      writeups (1)


                                    215-341-3616 transcripts@everestdepo.com
                                           Everest Court Reporting LLC                                          Page: 7
        Case 3:24-cv-00404-MCR-ZCB     Document 21-4         Filed 06/05/25        Page 124 of 124
Deposition of George Pappas                        Nicholas Ford and Alonzo Hawkins v. Southern Road & Bridge LLC


 writing (1)
 written (12)
 wrong (7)
 wrongful (1)

 <Y>
 y'all (1)
 yard (1)
 Yeah (1)
 year (9)
 years (9)

 <Z>
 Zoom (8)




                              215-341-3616 transcripts@everestdepo.com
                                     Everest Court Reporting LLC                                          Page: 8
